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COMPOSITE EXHIBIT A
                                                                                             Pltf. Ex. 127
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                               FEDERAL ELECTION COMMISSION

       2                      FIRST GENERAL COUNSEL'S REPORT

       3                                       MUR: 71SS
       4                                       DATE COMPLAINT FILED: 10/19/2016
       s                                       DA TE OF NOTIFICATION: 10/26/2016
       6                                       SUPPLEMENTAL COMPLAINT FILED: 3/23/2017
       7                                       LAST RESPONSE RECEIVED: 4/20/2017
       8                                       DATE ACTIVATED: 3/1/2017
       9
       10                                      EARLIEST SOL: 3/11/2021
       11                                      LATEST SOL: 9/23/2021
~~     12                                      ELECTION CYCLE: 2016
D      13
f,i    14   COMPLAINANT:                       Public Interest Legal Foundation
~~     IS
~~     16   RESPONDENTS:                       Hillary For America and Jose Villall'.eal in his
ft'"
;!)i
0      17                                          official capacity as treasurer
;~     18
       19
                                               The Democratic National Committee and
                                                   Andrew Tobias in his official capacity as
f~
F.•    20                                          treasurer
       21                                      Democracy Partners
       22                                      Bob Creamer
       23                                      Americans United for Change
       24                                      Scott Foval OBA The Foval Group
       25                                      Voces de la Frontera Action
       26
       27   RELEVANT STATUTES
       28   AND REGULATIONS:                   52 U.S.C. § 30116(a), (b), (d), (f)
       29                                      52 u.s.c. § 30118
       30                                      11 C.F.R. § 109.20
       31                                      11 C.F.R. § 109.21
       32                                      11 C.F.R. § 109.22
       33                                      11 C.F.R. § 109.37
       34
       35
       36   INTERNAL REPORTS CHECKED:          Disclosure Reports
       37
       38   FEDERAL AGENCIES CHECKED:          None
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                l                                                     MUR: 7157
                2                                                     DATE COMPLAINT FILED: 10/20/2016
                3                                                     DA TE OF NOTIFICATION: 10/27/2016
                4                                                     SUPPLEMENTAL COMPLAINT FILED: 3/23/2017
                5                                                     LAST RESPONSE RECEIVED: 4/20/2017
                 6                                                    DATEACTIVATED: 3/1/2017
                 7
                 8                                                    EARLIERST SOL: 3/1112021
                 9                                                    LA TEST SOL: 9/23/2021
                10                                                    ELECTION CYCLE: 2016
    1           11
    B
    (~I         12   COMPLAINANTS:                                    Project Veritas Action Fund
    1im         13
    ~~          14   RESPONDENTS:                                     Hillary For America and Jose Villarreal in his
    f.ift'"     15                                                        official capacity as treasurer
    ;)
    ()          16                                                    The Democratic National Committee and
    1           17                                                        Andrew Tobias in his official capacity as

'
    ?~~         18
                19
                                                                          treasurer
                                                                      Priorities USA Action
                20                                                    Demo~racy Partners         .
                21                                                    Americans United for Change
                22                                                    Scott Foval DBA The Foval Group
                23                                                    Alliance for Retired Americans
                24
                25   RELEVANT STATUTES
                26   AND REGULATIONS:                                 52 U.S.C. § 30116(a), (b), (d), (t)
                27                                                    52 u.s.c. § 30118
                28                                                    11 C.F.R. § 109.20
                29                                                    11 C.F.R. § 109.21
                30                                                    11 C.F.R. § 109.22
                31                                                    11 C.F.R. § 109.37
                32
                33   INTERNAL REPORTS CHECKED:                        Disclosure Reports
                34
                35   FEDERAL AGENCIES CHECKED:                        None
                36
              . 37   I.      INTRODUCTION

               38            The Complaints allege that Priorities USA Action ("Priorities USA"), Democracy

               39    Partners, Bob Creamer, Americans United for Change ("Americans United"), Scott Foval DBA

               40    The Foval Group ("Foval"), Voces de la Frontera Action ("Voces"), and Alliance for Retired

               41    Americans made prohibited in-kind contributions in the form of coordinated expenditures to
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     Hillary for America and Jose Villarreal in his official capacity as treasurer ("HFA'') and the

 2   Democratic National Committee and Andrew Tobias in his official capacity as treasurer (the

 3   "DNC"), in violation of the Federal Election Campaign Act of 1971, as amended (the "Act") and

 4   Commission regulations. The Complaint also alleges that HF A and DNC accepted these

 5   contributions and did not report them. 1

6            Because the available information does not indicate that any of the activities identified in

 7   the Complaints resulted in prohibited or excessive contributions, we recommend that the

 8   Commission find no reason to believe that Respondents violated the Act and close the files.

 9   II.     FACTS

10           HFA is the principal campaign committee for Hillary Clinton's 2016 presidential

11   campaign. 2 Priorities USA is an independent-expenditure-only political committee ("IEOPC")

12   that made independent expenditures during the 2016 general election advocating for Hillary

13   Clinton and against Donald Trump. 3 Alliance for Retired Americans and Voces are both

14   nonprofit organizations registered under section 501(c)(4) of the Internal Revenue Code. 4




             See Compl. at 3-4 (MUR 7155) (Oct. 19, 2016); Compl. at ·14-15 (MUR 7157) (Oct. 20, 2016); Supp.
     Compl. at 9~13 (MUR 7157) (Mar. 27, 2017) ("Supp.").
     l
              Statement of Organization, Hillary for America (Apr. 13, 2015).

               See generally 2016 28/48-Hour Notices of Independent Expenditures, Priorities USA (showing that
     Priorities USA made more than $126 million in independent expenditures related to the 2016 general election for
     President).
     4
                 PROPUBLICA NONPROFIT EXPLORER: ALLIANCE FOR RETIRED AMERICANS,
     https://projects.propublica.org/nonprofits/organizations/522277805 (last visited Mar. 21, 2017) (The associated PAC
     is registered under Committee ID C00436188 which reported no contributions or independent expenditures during
     the 2016 election cycle.); VOCES DE LA FRONTERA ACTION, http://www.vdlfa.org/about_us/ (last visited Apr. 25,
     2017).
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                     Democracy Partners is a p~litical consulting firm with partners who each maintain their

        2    own businesses. 5 Bob Creamer, a partner at Democracy Partners, maintains Mobilize, Inc.

        3    ("Mobilize"), and he is affiliated with Americans United, a section 501(c)(4) organization. 6

        4    Scott Foval was employed by Americans United from August 2016 through October 17, 2016. 7

         5           Project Veritas Action Fund {"Project Veritas Action"), the Complainant in MUR 7157,

i~
()
        6    released a series of four hidden camera videos (the "PV A videos"), the first of which contained

~~      7    conversations between Foval, Creamer~ and undercover PVA representatives po~ing as agents for
4
,~i..
;)
         8   a donor named "Charles Roth." 8 These PVA videos and other documents collected during the
0
;~       9   undercover investigation form the basis for the Complaints.
~~
~)      10           The Complaint in MUR 7155 alleges that Americans United, Voces, Democracy

        11   Partners, and Foval made coordinated communications at the request or suggestion of, or after

        12   substantial discussions with, HF A and the DNC. ~ The Complaint and its supplement in MUR

        13   7157 allege that Priorities USA, Alliance for Retired Americans, Americans United, HF A, and

        14   the DNC engaged in a criminal conspiracy to knowingly and willfully violate the Act and

        15   Commission regulations by making, accepting, and· not reporting prohibited and excessive




                     Democracy Partners Resp. at 1 (MUR 7155) (Dec. 22, 2016).
             6
                       See Democracy Partners, Robert C. Creamer, http://www.democracypartners.com/?q=partners/robert-
             creamer (last viewed May l, 2017) (describing <;:ream~r as a "General Consultant to Americans United for Change
             where he helped coordinate the campaigns to pass President Obama's landmark jobs and economic recovery
             legislation"); Compl. Ex. G (MUR 7155) (email from Creamer sending a proposal for $50,000 in "voter
             mobilization" services on behalf of Americans United and Voces).

                     See Comp!. Ex. A at 5 (MUR 7157).
             8
                       Philip Elliot, Everything We Know about the Latest James O'Keefe Video Sting, TIME (Oct. 18, 2016),
             http://time.com/4536212/james-okeefe-project-veritas-video-democrats.
             9       Comp!. at 3-4 (MUR 7155).
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              contributions in the form of coordinated communications. 10 The specific activities alleged in the

         2    Complaints are:

         3         •   Americans United coordinated with HF A and the DNC on an operation known as
         4             "Donald Ducks," which consisted of a person in a duck costume appearing at Trump
         5             campaign events and carrying a sign reading "Donald Ducks Releasing His Tax
         6             Returns;" 11
         7
         8         •   Democracy Partners, Americans United, Creamer, and Foval coordinated with HF A and
1        9             the DNC to pay protesters to appear at Trump rallies; 12
B       10
[)
       . 11        •   Americans United and Voces coordinated with HF A and the DNC on a get-out-the-vote
'~~m    12             drive called "Vote November 8th for a Stronger Economy that Makes Us Stronger
~m      13             Together" (the "Fall Plan"), which involved alleged fraudulent registration of non-
!)      14             residents in Wisconsin; 13 and
~~
')
        15
        16         •
                                                                             ,    .

                       Priorities· USA, Americans United, Alliance for Retired Americans, Democracy Partners,
~K
t)      17             Voces, Foval, and Creamer made public communications based on "shared electoral
        18             strategy" and messaging developed in coordination with HF A and the DNC. 14
        19
        20             A.       "Donald Ducks"

        21             The Complaints argue that "Donald Ducks" was a public communication by Americans

        22    United, made after substantial discussions and with material involvement from both HF A and the

        23    DNC. Specifically, the Complaints allege that Americans United implemented the "Donald

        24    Ducks" operation that the DNC and HFA originally developed. 15




              10
                       Compl. at 2, 14-15 (MUR 7157); Supp. at 9-13 (MUR 7157).
              II
                       See Compl. at 9 (MUR 7157); Compl. at 5, Ex. D (MUR 7155); Supp. at 9-13 (MUR 7157).
              12
                       See Compl. at 3 (MUR 7155); Compl. at 14-15 (MUR 7157); Supp. at 9-13 (MUR 7157).
              13
                       See Compl. at 4 (MUR 7155); Compl. at 14-15 (MUR 7157); Supp. at 9-13 (MUR 7157).
              14
                       See id
              15
                       See id
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                     The DNC argues that it conducted the "Donald Ducks" operation through a contract with

       2    Mobilize, and it provided invoices showing that the DNC paid the associated expenses. 16

       3    Mobilize, in tum, subcontracted with Foval, although it is unclear whether Mobilize contracted

       4    with Foval individually, with Foval's LLC, or with Americans United. 17 Foval provided services

       5    under the subcontract from June 2016 until October 17, 2016, when Americans United

'l     6    terminated him. 18 Although both the Complaints and several press reports suggest that "Donald
~~
0      7    Ducks" was ''transferred" from the DNC to Americans United at some point - after the DNC
~i
~i
~i     8    received negative press regarqing possible copyright infringement - Americans United's
I"'
~:ii
(~     9    President, Brad Woodhouse, provided two sworn declarations stating that Americans United did
l
,,
~)·


I
       IO   not pay for any expenses associated with "Donald Ducks." 19


            16
                      The DNC provided invoices showing that it paid for the "Donald Ducks" operation under a contract that the
            DNC and Mobilize entered into in June 2016 (the "Mobilize contract") for Mobilize to "coordinate events and
            actions" related to the 2016 Presidential Election. Democracy Partners Resp. at I (MUR 7155). Disclosure reports
            show disbursements from the DNC to Mobilize, Inc., which mirror the invoices. See D:NC.Resp. at 2 (MUR 7155)
            (Dec. 19, 2016); DNC 2016 Amended October Monthly Report (Jun. I, 2017). Disclosure reports also indicate that
            Mobilize's work for the DNC was not limited to the "Donald Ducks" operation. See ONC 2016 Amended August
            Monthly Report (Jun. I, 2017); DNC 2016 Amended September Monthly Report (Jun. I, 2017); DNC 2016
            Amended October Monthly Report (Jun. I, 2017); DNC 2016 Amended Pre-General Report (Jun. I, 2017); DNC
            2016 Amended Pre-General Report (Jun. 1, 2017); DNC 2016 Amended Year-End Report (Jun. I, 2017)(disclosing
            a total of$183,408.93 in payments from the DNC to Mobilize). Respondents provided documentation showing that
            $41,338.95 of the disbursements related to services for the "Donald Ducks.... operation, but did not provide itemized
            invoices showing the services included in the remaining $142,069.98.
            17
                     See Democracy Partners Resp.at I (MUR 7155) ("Scott Foval was engaged as a sub-contractor in June of
            2016."); Compl. Ex.Fat 2 (MUR 7155) (quoting Foval as saying "lam contracted with [Bob Creamer] ... DNC
            pays Democracy Partners, Democracy Partners pays the Foval Group, The Foval Group goes and executes ..."); see
            also Compl. Ex. A at 5-9 (MUR 7157) (Foval alternates between identifying himself as a "contractor" and
            "consultant").
            18
                      See Democracy Partners Resp. at I (MUR 7155); David Weigel, Two Democratic Operatives lose Jobs
            After James 0 'Keefe Sting, THE WASHINGTON POST (Oct. 19, 2016), https://www.washingtonpost.com/news/post-
            politics/wp/2016/10/19/two-democratic-operatives-lose-jobs-after-james-okeefe-sting/?tid=pm_pop_b (stating that
            "Foval was laid off Monday [Oct. 17, 2016) by Americans United for Change, where he had been national field
            director").
            19
                     See Americans United Resp. Attach. A (MUR 7155) (Dec. 16, 2016); Americans United Resp. Attach. A
            (MUR 7157) (Dec. 16, 2016). In both declarations, Woodhouse states that the Americans United's "sole expenses
            associated with the effort consisted of staff time to prepare and issue press releases about the effort over the internet,
            along with unpaid Twitter messaging." Id
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                    B.      Paid Protesters

      2             The Complaints allege generally that Democracy Partners, Creamer, Foval, and

      3    Americans United paid and coached protesters at Trump campaign rallies; that HFA and the

      4    DNC reviewed and approved the messages the protestors used; and that these activities

      5    constituted coordinated communications by Democracy Partners, Creamer, Foval, and



~
      6    Americans United. 20 Specifically, the Complaints point to press coverage of a Trump rally in
(;
       7   Chicago on March 11, 2016, and portions of the PV A Videos during which a Democracy
~i
/.i        Partners employee says "[s]o the Chicago protest when they shut all that, that was us." 21 In
~i
...    8
;)
[)     9   support of the more general allegation regarding paying and training protesters, the Complaints
1
')
'·
-~l
      IO   highlight Foval's statements in the PVA videos claiming that he and Creamer are the primary

      11   organizers of the protests at Trump campaign events and that the DNC and HF A "cleared" the

      12   protesters' proposed messaging. 22 The Complaint also relies on Foval's statements referring to

      13   paying protesters:

      14        •   "We have to be really careful because what we don't need is for it to show up on CNN
      15            that the DNC paid for X people to; that's not going to happen." 23

      16        •   "I'm saying we have mentally ill people that we pay to do [expletive], make no mistake.
      17            Over the last 20 years, I have paid off a few homeless guys to do some crazy stuff .... " 24

      18   The PV A videos on which the Complaints rely provide no specific context for these statements.




           20
                    Compl. at 2 (MUR 7155); Compl. at 5-7, 14 (MUR 7157).
           21
                    See.Comp). Ex. C, Ex.Fat 4 (MUR 7155).
           22
                    See Compl. at 5-7, Ex. A at 5-9 (MUR 7"155); see also Project Veritas Action, Rigging the Election-
           Video I: Clinton Campaign and DNC Incite Violence at Trump Rallies [video] at 7:20, 7:28, 8:40, 8:50, YouTuBE
           (Oct 17, 2017), https://www.youtube.com/watch?time_continue=3&v=51uJ~HulkzY ("Rigging the Election").
           23
                    Rigging the Election at I0:20.
           24
                    Rigging the Election at 13:50.
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                   HF A and the DNC question the authenticity of the PV A videos, arguing that Project

      2    Veritas "devised the questions themselves, cherry-picked excerpts of responses, and presented

      3    them out of context. 25 The DNC also argues that the Complaints fail to present facts which

      4    support the coordination allegation. 26 Americans United also challenges the videos' authenticity

       5   and provided an affidavit in which Brad Woodhouse attests that Americans United neither paid

;l    6    any protesters to appear at the· Chicago Trump rally nor paid for any signs carried by protesters at
B
[)
       7   Trump rallies. 27 Democracy-Partners also questions the videos' authenticity, characterizing
¢~
-~s
_,     8   Foval's statements cited in the Complaint as factually inaccurate "puffery and bragging by a
·!)
0      9   short-term contractor." 28 Democracy Partners specifically denies paying protesters and cites
 'l
'>
.i~   10   contemporaneous news articles in which several prominent protesters at Trump rallies denied.

      11   being trained or induced by any third p~rties. 29

      12           c.       Voter Registration and GOTV Activity in Wisconsin

      13           The Complaints all~ge that Americans United and Voces engaged in the Fall Plan, which

      14   resulted in prohibited in-kind contributions to HFA and the DNC. In support, both Complaints

      15   provided copies of the Fall Plan, which was written on Americans United letterhead. 30 The

      16   Complaints allege that Americans United and Voces developed and executed the Fall Plan in



           2S
                   See DNC Resp. at 2 (MUR 7155); DNC Resp. at 1 (MUR 7157), HFA Resp. at 2 (MUR 7155).
           26      DNC Resp. at 2 (MUR 7155).
           27
                    Americans United Resp. Attach~ A (MUR 7155) ("AUFC did not pay anyone to protest at a Trump rally in
           Chicago on March 11, 2016 ...");Americans United Resp. Attach. A (MUR 7157) (Dec. 16, 2016) ("AUFC did not
           pay for signs carried by protesters at Trump rallies that read '#DumpTrump,' 'No Hate, No Racism, No Trump,' or
           'Nope' with images of Trump.").
           28      Democracy Partners Resp. at 4 (MUR 7155).
           29
                   Democracy Partners Resp. at 3 (MUR 7155).
           30
                   See Comp!. Ex. A (MUR 7155); Compl. Exs. C, D (MUR 7157).



                                                                                \
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            consultation with HF A and the DNC. The Complaints also allege that the voter registration and

       2    GOTV activity listed in the Fall Plan were targeted to reach voters likely to support Clinton and

       3    that they may have intentionally registered non-residents. 31

       4            Respondents state that the Fall Plan was only a proposal distributed by Americans United

       5    and Voces through a press release to generate interest in funding the proposed activities. 32 In his

l      6    declarations, Woodhouse states that Americans United did not carry out the Fall Plan and did not

I~~~    7   incur any expenses in connection with the proposed activities. 33
~~
.~i     8           D.       Shared Electoral Strategy and Messaging
u·,)
D       9           The Complaints allege that HF A and the DNC conducted weekly conference calls with
~l(~   10   the other respondents to "determine shared electoral strategy" and discuss plans to "shape

       11   content and messaging to benefit HF A and the DNC." 34 The Complaints allege that these calls

       12   involved "material discussion" about the "timing, content, and audience" for public

       13   communications disseminated by these outside groups "at or with the direction, approval, [or]

       14   suggestion" ofHFA and the DNC. 35         ..




            JI
                    See Compl. Ex. C (MUR 7157).
                2
            J        Americans United Resp. at l .(MUR 7155). Voces filed a designation of counsel in MUR 7155, but did not
            submit a response.
            JJ      Id. at Attach. A; Americans United Resp. Attach. A (MUR 7157).
            J4
                    Compl. at 10 (MUR 7157).
            JS      Compl. at4 (MUR 7155).
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                    Respondents argue that this allegation is speculative and unsubstantiated by any

      2     information describing either the content of these alleged discussions or any specific examples of

      3     alleged coordinated communications. 36

      4     III.    LEGAL ANALYSIS

       s            A.       Coordination Allegations


~~    6             The Act prohibits any person from making, and any candidate or committee from
D      7    accepting or receiving, excessive or prohibited contributions. 37 In addition, corporations and
~~
,m
~m     8    independent-expenditure-only political committees are prohibited from making contributions to
B'"
.)
[~    9     federal candidates. 38 The term "contribution" includes anything of value given for the purpose


~
!'
      10'   of influencing a federal election. 39 Further, any expenditure made by a person "in cooperation,

      ll    consultation, or concert, with, or at the request or suggestion of, a candidate, authorized political

      12    committee, or a national or state party committee" is considered an in-kind contribution. 40 These

      13    expenditures are deemed "coordinated" 41 and qualify as contributions to the candidate and must

      14    be reported as expenditures made by the candidate's authorized committee or political party

      IS    committee. 42




            36
                    See Priorities USA Resp. at l (MUR 7157) (Jan. 9, 2017); Alliance for Retired Americans Resp. at I (MUR
            7157) (Nov. 9, 2016); DNC Resp. at 3 (MUR 7157) (Dec. 19, 2016); HFA Resp. at 4 (MUR 7157) (Dec. 19, 2016);
            Democracy Partners Resp. at 3 (MUR 7157)(Dec. 22, 2016).
            37
                     52 U.S.C. § 30116(a), (f); see, e.g., 52 U.S.C. § 30118(a) (prohibiting making or knowingly receiving
            corporate or union contributions).
            38
                    Advisory Op. 2010-11 (Commonsense Ten).
            39
                    52 U.S.C. § 30101(8)(A)(i).
            40
                    See 52 U.S.C. § 30116(a)(7)(B)(i)-(ii); see also 11 C.F.R. §§ 109.20, 109.2l(b).
            41
                     11 C.F.R. § l09.20(a).
            42
                    52 U.S.C. § 30116(a)(7)(B); 11 C.F.R. § l09.20(a).
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              A communication that is coordinated with a candidate or his authorized committee or a

2    political party committee is considered an in-kind contribution and is subject to the limits,

3    prohibitions, and reporting requirements of the Act. 43 Under Commission regulations, a

4    communication is coordinated with the candidate, the candidate's authorized committee, a

5    political party committee, or an agent of the candidate, authorized committee, or party committee

6    if it meets a three-prong test: (1) it is paid for, in whole or part, by a person other than the

 7   candidate, authorized committee, or national or state party committee; (2) it satisfies one of five

 s   content standards in 11 C.F.R. § 109.21(c); 44 and (3) it satisfies one of six conduct standards

 9   described in 11C.F.R.§109.21(d):45 All three prongs must be satisfied for a communication to

1O   be coordinated under these regulations. 46

11            In addition, the national committee of a political party may make coordinated party

12   expenditures in connection with the presidential general election, subject to the limits established

13   by the Act and Commission regulations. 47 Coordinated party expenditures include




     43
              52 U.S.C. § 30116; 11 C.F.R. § 109.21(b).
     44
               The content prong is satisfied if the communication at issue meets at least one of the following content
     standards: (1) a communication that is an electioneering communication under 11 C.F.R. § 100.29; (2) a public
     communication that disseminates, distributes, or republishes, in whole or in part, campaign materials prepared by a
     candidate or the candidate's authorized committee; (3) a public communication that expressly advocates the election
     or defeat ofa clearly identified candidate for federal office; (4) a public communication that, in relevant part, refers
     to a clearly identified Presidential candidate, and is publicly distributed or disseminated in a jurisdiction 120 days or
     fewer before the candidate's primary election or nominating caucus in that jurisdiction; or (5) a public
     communication that is the functional equivalent of express advocacy. 11C.F.R.§109.21(c)(l)-(5).
     4
      s       The six types of conduct that satisfy the conduct prong are: ( l) a request or suggestion; (2) material
     involvement; (3) a substantial discussion; (4) use ofa common vendor; (5) use ofa former employee or independent
     contractor; and (6) republication of campaign mat~rial. 11C.F.R.§109.2l(d)(l)-(6).
     46
              11 C.F.R. § 109.2 l(a); see also Explanation and Justification, Coordinated and Independent Expenditures,
     68 Fed. Reg. 421, 453 (Jan. 3, 2003) ("Coordination E&J"). See Factual and Legal Analysis at 5, MUR 7029
     (McGinty).
     47
              52 U.S.C. § 30116(d); 11 C.F.R. §§ 109.30, 109.32.
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           disbursements for communications that are coordinated with the candidate. 48 For the 2016

      2    general election, national party committees were limited to making $23,821, 100 in coordinated

      3    party expenditures for presidential candidates. 49

      4             The regulations further provide that an expenditure that is coordinated with a candidate,

       5   authorized committee, or political party committee ~ithin the meaning of section_ l 09.20(a), but

'l    6    was not made for either a coordinated communication or a party coordinated communication is
"h
0.     7   either an in-kind contribution to the candidate, authorized committee, or party committee, or a
~i
4
~~     8   party coordinated expenditure. 50        .
I"'
;)
[)     9                     1. Coordinated Communications

\..
 !
f..
      10

      11
                    Priorities USA disclosed numerous independent expenditures for public communications

           supporting Clinton and criticizing Trump during the 2016 election cycle. 51 Thus, both the

      12   payment and content prong~ of the coordinated communications test are satisfied as to Priorities

      13   USA.

      14             As to the conduct prong, the Complaint in MUR 7157 makes a general allegation that all

      15   of the communications Priorities USA reported as independent expenditures were, in fact,

      16   coordinated with the Clinton campaign, but it fails to provide any specific information to support

      17   the allegation. This factual insufficiency, by itself, supports a no-reason-to-believe finding as to




           48
                    11 C.F.R. § 109.30. See also 11 C.F.R. § 109.37 (defining a party coordinated communication as a
           communication that is (a) paid for by a political party committee or its agent; (b) satisfies at least one of three
           content standards; and (c) satisfies at least one of the conduct standards in 11 C.F.R. §§ 109.2 l(d)(I) through (d)(6)).
           49
                      Price Index Adjustments for Expenditure Limitations and Lobbyist Bundling Disclosure Threshold, 81 Fed.
           Reg. 7, I 03 (Feb. I 0, 2016); see also Coordinated Party Expenditures for 2016, FEDERAL ELECTION COMMISSION,
           http://www.fec.gov/info/charts_cpe_2016.shtml.
           so       11 C.F.R. § 109.20(b).
           SI
                    See supra note 3.
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             Priorities USA. In addition, the Complaints' general allegations of coordination between the

        2    HF A and Priorities USA are sufficiently rebutted by Respondents' specific denials. 52

        3             The Commission has previously found that there was insufficient information on which

        4    to base an investigation into whether the conduct standard was met where a PAC had "ongoing
                                           I


        5    communications" with party officials and elected officials, but the complainants neither

 'l     6    identified which particular conduct standard would apply nor connected the discussions to any
.l~(·
             alleged coordinated communications. 53 Respondents argue that t~ese Complaints are similarly
 a       7
 ~i
 ~i      8   lacking. s4 The Complaints do not establish how these alleged discussions involving Priorities
 I'"
 .)
 (~      9   USA, HFA, and the DNC satisfy the conduct prong and do not link any particular discus~ions to


 ~      10   any specific public communications. The factual record, therefore, does not support a conclusion

        11   that the conduct prong is satisfied regarding Priorities USA'·s independent expenditures. ss

        12            In addition, as the available information does not indicate that any Respondent other than

        13   Priorities USA and the DNC satisfies the payment prong of the coordinated communications test,



             S2
                      See supra note 36.

             s3        See Factual & Legal Analysis at 3, MUR 5754 (MoveOn.org Voter Fund) ("Although the complaint alleges
             that 'MoveOn.org has made no secret of its ongoing communications with Democratic party officials ... and the
             elected Democratic leadership in the Senate and House,' it does not connect any such discussions to [MoveOn.org's].
             alleged 'coordinated communications."').

             s4        The DNC argues that because the Complaints failed to make any connections between supposed
             discussions and alleged coordinated communications, determining that they met the conduct prong would involve
             "rarik speculation" in which the Commission has previously declined to engage. DNC Resp. at 4 (MUR 7157)
             (citing Factual & Legal Analysis at 3-4, MUR 5754 (MoveOn.org Voter Fund)). HFA and the DNC argue that the
             Complaints do not provide any information whic:;h, if true, would satisfy the conduct standard. Specifically, they
             contend that the Complaints do not detail any specific calls, do not tie any specific discussions to any specific public
             communications, and "leave open the question of whether respondents even participated [in any conference calls] at
             all." See HFA Resp. at 2 (MUR 7155); see also DNC Resp. at 2 (MUR 7155).

             ss       See First Gen. Counsel's Rpt. at 5, MUR 5467 (Michael Moore) ("The Commission cannot entertain
             complaints based on mere speculation that a person may violate the law at some future date."); Statement of
             Reasons, Comm'rs. Mason, Sandstro11.1, Smith & Thomas at 3, MUR 4960 (Hillary Rodham Clinton for Senate)
             ("[P]urely speculative charges, especially when accompanied by a direct refutation, do not form an adequate basis to
             find reason to believe that a violation of the FECA has occurred.") (citation omitted).
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                there is no basis to conclude that any other Respondent made or accepted excessive or prohibited

           2    contributions in the form of coordinated communications.

           3                     2. Party Coordinated Expenditures

           4            There is information in the record that the     D~C   paid its vendors to conduct the "Donald

           5    Ducks" operation, an~ may have paid its vendors to train or support protestors at Trump rallies. 56

 l         6    The DNC provided documentation showing that it paid for the "Donald Ducks" operation
 B
 [)         7   pursuant to a_contract with Mobilize. 57 Democracy Partners, A~ericans United, Foval, and
 ~'~~
            8   Creamer were involved in the "Donald Ducks" operation as vendors performing services -
 '~.)I"'
 ()        9    either directly or as subcontractors -     under Mobilize's contract with the DNC.
 ;t
• 1.
           10           As to the allegations regarding paying, organizing, and training protesters, Americans
 I"'
 ~)

           11   United stated that it did not pay anyone to protest at one Trump rally in Chicago and did not pay

           12   for any signs carried by protesters at Trump rallies, and there is no information in the Complaints

           13   linking Americans United with training or organizing any protesters. 58 HFA, the DNC, and

           14   Democracy_ Partners, however, do not specifically address the broad allegation that they trained

           15   and organized prot~sters who appeared at Trump rallies,- and some statements in the PV A videos

           16   suggest that Foval and Creamer may have provided these kinds of services. During the time the

           17   alleged training and organizing occurred, Democracy Partners, Creamer, and Foval were

           18   providing general political consulting services to the DNC under a contract between the DNC




                56
                        See supra note 16. .
                57
                         The DNC's and Democracy Partners's statements are corroborated by invoices the DNC provided and
                disclosure reports showing corresponding disbursements from the DNC to Mobilize. See DNC Resp. at 2-3, Ex. A
                (MUR 7155); Democracy Partners Resp. at 3-4 (MUR 7155).
                SB
                         Americans United Resp. Attach. A (MUR 7155); Americans United Resp. Attach. A (MUR 7157).
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            and Mobilize. 59 The invoices the DNC provided do not itemize the services that Mobilize and its

       2    various subcontractors performed under the contract, so it is possible that the services included

       3    organizing and training protesters, as suggested by Foval and Creamer's statements cited in the

       4    Complaints. 60

       5            Even so, the coordination claims regarding "Donald Ducks" and protestor training and

:l     6    support fail for a different reason; the expenses associated with these activities fit within the
(;i~
       7    DNC's available coordinated party expenditure limit. The DNC reported $23,383,306.68 in
4
~~
4      8    coordinated party expenditures supporting Clinton in the 2016 general election. 61 Both party
I"'
;)
[~     9    coordinated communications and other types of coordinated party expenditures are aggregated
1
~~     10   and counted against the $23,821,100 limit. 62 Therefore, even if all of the DNC's $183,408.93 in
~)
       ll   disbursements to Mobilize were coordinated with HFA, the DNC's total party coordinated

       12   expenses for the 2016 presidential general election would have been $23,566,715.61 -                   still

       13   below the legal limit. 63

       14                    3.   Coordi~ated      Expenditures

       15           As to the remainder of the coordination allegations, the Complaints do not provide any

       16   information indicating that the activities outlined in the Fall Plan and any associated GOTV



            59        See Democracy Partners Resp. at 1 (MUR 7155) (identifying Foval as a subcontractor performing services
            under the Mobilize/DNC contract beginning in June, 2016).
            60
                    Disclosure reports indicate that the DNC paid Mobilize $183,408.93 for political consulting services in
            2016. See supra note 16. Invoices show that $41,338.95 of what Mobilize received was related to services for the
            "Donald Ducks" project, but Respondents did not provide itemized invoices showing the services included in the
            remaining $142,069.98.                 ·                                         ·
            61
                     See DNC Amended 2016 Year-End Report at 4 (Jun. l, 2017); DNC 2017 April Monthly Report at4 (Apr.
            20, 2017).

                     See l l C.F.R. § l09.37(b).
            63       See supra notes 16 and 49.
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     activities actually occurred; and do not identify any associated expenditures by any Respondent.

2    Additionally, Americans United stated that it "did not carry out, and incurred no expenses" in

3    connection with the proposed Fall Plan and that it was merely a proposal distributed by

4    Americans United and Voces through a press release to generate interest in funding the proposed

 5   activities. 64 In light of the lack of supporting information in the Complaints and Respondents'

6    specific denials, the available information does not support a finding that any Respondent made

 7   or accepted in-kind contributions in the form of coordinated expenditures in connection with the

 8   Fall Plan.

 9           As the information in the record does not support the coordination allegations outlined in

IO   the Complaints, we recommend that the Commission find that there is no reason to believe that

11   Respondents violated the Act by making or accepting excessive or prohibited in-kind

12   contributions.

13           B.       Reporting Violations

14           The Complaints allege that if the activities at issue are found to be coordinated

15   communications, then HFA and the DNC failed to disclose the resulting contributions. As we

16   conclude that there is no reason to. believe regarding the coordination allegations, we recommend

17   that the Commission also find that there is no reason to believe that Respondents violated the

18   reporting provisions of the Act.




     64
              See Americans United Resp. at I, Attach. A (MUR 7155); Americans United Resp. Attach. A (MUR 7157).
     Voces filed a designation of counsel in MUR 7155, but did not submit a response.
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                  IV.     RECOMMENDATIONS.

             2             I. Find no reason to believe that Hillary for America and Jose Villareal in his official
             3                capacity as treasurer and the Democratic National Committee and Andrew Tobias in
             4                his official capacity as treasurer violated 52 U.S.C. §§ 30104(b), 30116(f), and
             5                301l8(a) by accepting and failing to report excessive or prohibited in·kind
             6                contributions;

             7            2. Find no reason to believe that Bob Creamer and Scott Foval violated 52 U.S.C.
             8               § 30116(a) by making excessive in·kind contributions;
·1
              9           3. Find no reason to believe that Priorities USA Action, Democracy Partners, Americans
 B           10              United for Change, The Foval Group, Voces de la Frontera, and the Alliance for
 ~i          11              Retired Americans violated 52 U.S.C. §§ 30116(a)(2)(A) or 30118(a) by making
 ~i          12              excessive or prohibited in·kind contributions;
 #.i
  ...
. ·.-)
             13           4. Approve the attached Factual and Legal Analysis;
 D

 ~t          14

             15
                          5. Approve the appropriate letters; and

                          6. Close the file.

             16                                                    Lisa J. Stevenson
             17                                                    Acting General Counsel
         I   18
             19
             20                                                    Kathleen M. Guith
             21                                                    Associate General Counsel for Enforcement
             22
             23         5.2.2018
             24
             25   Date
             26
             27
             28
             29
             30                                                    Lynn Y. Tran
             31                                                    Assistant General Counsel
             32
             33
             34
             35                                                    Ray L. Wolcott
             36                                                    Attorney
             37
             38
             39   Attachment
             40      Factual and Legal Analysis
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          1                              FEDERAL ELECTION COMMISSION
          2
          3                               FACTUAL AND LEGAL ANALYSIS
          4
          5   RESPONDENTS:          Hillary for America and Jose Villarreal in his           ·MUR: 7155
         .6                               official capacity as treasurer
          7                         The Democratic National Committee and
          8                               Andrew Tobias in his official capacity as
          9                               treasurer
         10                         Democracy Partners
         11                         Bob Creamer
         12                         Americans United for Change
 l       13                         Scott Foval OBA The Foval Group
 8       14                         Voces de la Frontera Action
 [~
 ~'t.l
         15
         16   RESPONDENTS:          Hillary for America and Jose Villarreal in his            MUR: 7157
  ~i     17                               official capacity as treasurer
  I"'
. ,)     18                         The Democratic National Committee and
  ~l     19                               Andrew Tobias in his official capacity as
                                          treasurer
  ~~
         20
         21                         Priorities USA Action
         22                         Democracy Partners
         23                         Americans United for Change
         24                         Scott Foval OBA The Foval Group
         25                         Alliance for Retired Americans

         26   I.     INTRODUCTION

         27          The Complaints allege that Priorities USA Action ("Priorities USA"), Democracy

         28   Partners, Bob Creamer, Americans United for Change ("Americans United"), Scott Foval DBA

         29   The Foval Group ("Foval"), Voces de la Frontera Action ("Voces"), and Alliance for Retired

         30   Americans made prohibited in-kind contributions in the form of coordinated expenditures to

         31   Hillary for America and Jose Villarreal in his official capacity as treasurer ("HF A") and the

         32   Democratic National Committee and Andrew Tobias in his official capacity as treasurer (the

         33   "DNC"), in violation of the Federal Election Campaign Act of 1971, as amended (the "Act") and




                                                                                                 ATTACHMENT I .
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 1   Commission regulations. The Complaint also alleges that HF A and DNC accepted these

2    contributions and did not report them. 1

3            Because the available information does not indicate that any of the activities             identifi~d     in

4    the Complaints resulted in prohibited or excessive contributions, the Commission finds no reason

5    to believe that Respondents violated the Act and closes the files.

6    II.     FACTUAL BACKGROUND

 7           HFA is the principal campaign committee for Hillary Clinton's 2016 presidential

 8   campaign. 2 Priorities USA is an independent-expenditure-only political committee ("IEOPC")

 9   that made independent expenditures during the 2016 general election advocating for Hillary

10   Clinton and against Donald Trump. 3 Alliance for Retired Americans and Voces are both

11   nonprofit organizations registered under section 50l(c)(4) of the Internal Revenue Code. 4

12           Democracy Partners is a political consulting firm with partners who each maintain their

13   own businesses. 5 Bob Creamer, a partner at Democracy Partners, maintains Mobilize, Inc.




             See Compl. at 3-4 (MUR 7155) (Oct. 19, 2016); Compl. at 14-15 (MUR 7157) (Oct. 20, 2016); Supp.
     Compl. at 9-13 (MUR 7157) (Mar. 27, 2017) ("Supp.").
     2
             Statement of Organization, Hillary for America (Apr. 13, 2015).
               See generally 2016 28/48-Hour Notices oflndependent Expenditures, Priorities USA (showing that
     Priorities USA made more than $126 million in independent expenditures related to the 2016 general election for
     President).
     4
                 PROPUBLICA NONPROFIT EXPLORER: ALLIANCE FOR RETIRED AMERICANS,
     https://projects.propublica.org/nonprofits/organizations/522277805 (last visited Mar. 21, 2017) (The associated PAC
     is registered under Committee ID C00436 I 88 which reported no contributions or independent expenditures during
     the 2016 election cycle.); VOCES DE LA FRONTERA ACTION, http://www.v~lfa.org/about_us/ (last visited Apr. 25,
     2017).                 .
             Democracy Partners Resp. at 1 (MUR 7155) (Dec. 22, 2016).


                                                                                                     ATTACHMENT 1
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            ("Mobilize"), and he is affiliated with Americans United, a section 501(c)(4) organization. 6

       2    Scott Foval ';Yas employed by Americans United from August 2016 through October 17, 2016. 7

       3             Project Veritas Action Fund ("Project Veritas Action"), the Complainant in MUR 7157,

       4    released a series of four hidden camera videos (the "PVA videos"), the first of which contained

        5   conversations between Foval, Creamer, and undercover PVA representatives posing as agents for

            a donor named "Charles Roth." 8 These PVA videos and other documents collected during the
i~[~
        6

        7   undercov~r   investigation form the basis for the Complaints.
~i
~i                   The Complaint in MUR 7155 alleges that Americans United, Voces, Democracy
        8
~~
...
;)
[)      9   Partners, and Foval made coordinated communications at the request or suggestion of, or after
'l
~i     10   substantial discussions with, HFA and the DNC. 9 The Complaint and its supplement in MUR
;l
       11   7157 allege that Priorities USA, Alliance for Retired Americans, Americans United, HFA, and

       12   the DNC engaged in a criminal conspiracy to knowingly and willfully violate the Act and

       13   Commission regulations by making, accepting, and not reporting prohibited and excessive

       14   contributions in the form of coordinated communications. 10 The specific activities alleged in the

       15   Complaints are:

       16        •   Americans United coordinated with HF A and the DNC on an operation known as
       17            "Donald Ducks," which consisted of a person in a duck costume appearing at Trump


            6         See Democracy Partners, Robert C. Creamer, http://www.democracypartners.com/?q=partners/robert-
            creamer (last viewed May I, 2017) (describing Creamer as a "General Consultant to Americans United for Change
            where he helped coordinate the campaigns to pass President Obama's landmarkjobs and economic recovery
            legislation"); Compl. Ex. G (MUR 7155) (email from Creamer sending a proposal for $50,000 in "voter
            mobilization" services on behalf of Americans United and Voces).                  ·
                     See Compl. Ex. A at 5 (MUR 7157).
                      Philip Elliot, Everything We Know about the latest James O'Keefe Video Sting, TIME (Oct. 18, 2016),
            http://time.com/4536212/james-okeefe-project-veritas-video-democrats.
            9        Compl. at 3-4 (MUR 7155).
            10       Compl. at 2, 14-15 (MUR 7157); Supp. at 9-13 (MUR 7157).


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                .,
                 I




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       1                 campaign events and carrying a sign reading "Donald Ducks Releasing His Tax
       2                 Retums;" 11
       3
       4             •   Democracy Partners, Americans United, Creamer, and Foval coordinated with HF A and
       5                 the DNC to pay protesters to appear at Trump rallies; 12
       6
       7             •   Americans United and Voces coordinated with HFA and the DNC on a get-out-the-vote
       8                 drive called "Vote November 8th for a Stronger Economy that Makes Us Stronger
       9                 Together" (the "Fall Plan"), which involved alleged fraudulent registration of non-
      IO                 residents in Wisconsin; 13 and
      11

~
      12             •   Priorities USA, Americans United, Alliance for Retired Americans, Democracy Partners,
[;    13                 Voces, Foval, and Creamer made public communications based on "shared electoral
~m    14                 strategy" and messaging developed in coordination with HFA and the DNC. 14
1.i
~~    15                 A.       "Donald Ducks"
o·
~)
[)    16                 The Complaints argue that "Donald Ducks" was a public communication by Americans
;~
')    17   United, made after substantial discussions and with material involvement from both HF A and the
~.


      18   DNC. Specifically, the Complaints allege that Americans United implemented the "Donald

      19   Ducks" operation that the DNC and HFA originally developed. 15

      20                 The DNC argues that it conducted the "Donald Ducks" operation through a contract with

      21   Mobilize, and it provided invoices showing that the DNC paid the associated expenses. 16


           II
                         See Comp!. at 9 (MUR 7157); Comp!. at 5, Ex. D (MUR 7155); Supp. at 9-13 (MUR 7157).
           12
                         See Comp!. at 3 (MUR 7155); Comp!. at 14-15 (MUR 7157); Supp. at 9-13 (MUR 7157).
           13
                         See Comp!. at 4 (MUR 7155); Comp!. at 14-15 (MUR 7157); Supp. at 9-13 (MUR 7157).
           14
                         See id
           IS
                         See id
           16
                     The DNC provided invoices showing that it paid for the "Donald Ducks" operation under a contract that the
           DNC and Mobilize entered into in June 2016 (the "Mobilize contract") for Mobilize to "coordinate events and
           actions" related to the 2016 Presidential Election. Democracy Partners Resp. at 1 (MUR 7155). Disclosure reports
           show disbursements from the DNC to Mobilize, Inc., which mirror the invoices. See DNC Resp. at 2 (MUR 7155)
           (Dec. 19, 2016); DNC 2016 Amended October Monthly Report (Jun. 1, 2017) .. Disclosure reports also indicate that
           Mobilize's work for the DNC was not limited to the "Donald Ducks" operation. See DNC 2016 Amended August
           Monthly Report (Jun. l, 2017); DNC 2016 Amended September Monthly Report (Jun. 1, 2017); DNC 2016
           Amended October Monthly Report (Jun. 1, 2017); DNC 2016 Amended Pre-General Report (Jun. 1, 2017); DNC
           2016 Amended Pre-General Report (Jun. 1, 2017); DNC 2016 Amended Year-End Report (Jun. 1, 2017) (disclosing
           a total of$183,408.93 in payments from the DNC to Mobilize). Respondents provided documentation showing that

                                                                                                           ATTACHMENT 1
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       1   Mobilize, in turn, subcontracted with Foval, although it is unclear whether Mobilize contracted

      2    with Foval individually, with Foval's LLC, or with Americans United. 17 Foval provided services

      3    under the subcontract from June 2016 until October 17, 2016, when Americans United

      4    terminated him. 18 Although both the Complaints and sev~ral press reports suggest that "Donald

       5   Ducks" was "transferred" from the DNC to Americans United at some point - after the DNC

      6    received negative press regarding possible copyright infringement - Americans United's

~
(·
~i
       7   President, Brad Woodhouse, provided two sworn declarations stating that Americans United did

~~     8   not pay. for any expenses associated with "Donald Ducks." 19
~i
D"'    9            B.       Paid Protesters
(~
;~    10            The Complaints allege generally that Democracy Partners, Creamer, Foval, and
~~    11   Americans United paid and coached protesters at Trump campaign rallies; that HF A and the

      12   DNC reviewed and approved the messages the protestors used; and that these activities

      13   constituted coordinated communications by Democracy Partners, Creamer, Foval, and

      14   Americans United. 20 Specifically, the Complaints point to press coverage of a Trump rally in


           $41,338.95 of the disbursements related to services for the "Donald Ducks" operation, but did not provide itemized
           invoices showing the services included in the remaining $142,069.98.                        ·
           17       See Democracy Partners Resp.at l (MUR 7155) ("Scott Foval was engaged as a sub-contractor in June of
           2016."); Compl. Ex.Fat 2 (MUR 7155) (quoting Foval as saying "I am contracted with [Bob Creamer] ... DNC
           pays Democracy Partners, Democracy Partners pays the Foval Group, The Foval Group goes and executes ..."); see
           also Compl. Ex. A at 5-9 (MUR 7157) (Foval alternates between identifying himself as a "contractor'' and
           "consultant").
           18
                    See Democracy Partners Resp. at 1 (MUR 7155); David Weigel, Two Democratic Operatives Lose Jobs
           After James 0 'Keefe Sting, THE WASHINGTON POST (Oct. 19, 2016), https://www.washingtonpost.com/news/post-
           politics/wp/2016/l 0/19/two-democratic-operatives-lose-jobs-after-james-okeefe-stingf?tid=pm_pop_b (stating that
           "Foval was laid off Monday [Oct. 17, 2016] by Americans United for Change, where he had been national field
           director").
           19
                    See Americans United Resp. Attach. A (MUR 7155) (Dec. 16, 2016); Americans United Resp. Attach. A
           (MUR 7157) (Dec. 16, 2016). In both declarations, Woodhouse states that the Americans·united's "sole expenses
           associated with the effort consisted of staff time to prepare and issue press releases about the effort over the internet,
           along with unpaid Twitter messaging." Id
           20
                    Compl. at 2 (MUR 7155); Compl. at 5-7, 14 (MUR 7157).


                                                                                                                 ATTACHMENTl
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            Chicago on March 11, 2016, and portions of the PV A Videos during which a Democracy

       2    Partners employee says "[s]o the Chicago protest when they shut all that, that was us." 21 In

       3    support of the more general allegation regarding paying and training protesters, the Complaints

       4    highlight Foval's statements in the PVA videos claiming that he and Creamer are the primary

       5    organizers of the protests at Trump campaign events ·and that the DNC and HFA "cleared" the

       6    protesters' proposed messaging. 22 The Complaint also relies on Foval's statements referring to

.1g     7   paying protesters:
~i
-~i    8         •   "We have to be really careful because what we don't need is for it to show up on CNN
4      9             that the DNC paid for X p~ople to; that's not going to happen." 23
 1·
 .)
 (~    IO        •   "I'm saying we have mentally ill people that we pay to do [expletive], make no mistake.
 ~~    11            Over the last 20 years, I have paid off a few homeless guys to do some crazy stuff ...." 24

·'-~   12   The PVA videos on which the Complaints rely provide no specific contex~ for these statements.

       13            HF A and the DNC question the authenticity of the PVA videos, arguing that Project

       14   Veritas "devised the questions themselves, cherry-picked excerpts of responses, and presented

       15   them out of context. 25 The DNC -also argues that the Complaints fail to present facts which

       16   support the coordination allegation. 26 Americans United also challenges the videos' authenticity

       17   and provided an affidavit in which Brad          ~oodhouse   attests that Americans United neither paid

       18   any protesters to appear at the Chicago Trump rally nor paid for any signs carried by protesters at



            21
                     See Comp!. Ex. C, Ex.Fat 4 (MUR 7155).
            22
                     See Comp!. at 5-7, Ex. A at 5-9 (MUR 7155); see also Project Veritas Action, Rigging the Election -
            Video I: Clinton Campaign and DNC Incite Violence at Trump Rallies [video] at 7:20, 7:28, 8:40, 8:50, YouTUBE
            (Oct 17, 2017), https://www.youtube.com/watch?time_continue=3&v=5IuJGHulkzY ("Rigging the Election").
            23
                     Rigging the Election at 10:20.
            24
                     Rigging the Election at 13:50.
            lS
                     See DNC Resp. at 2 (MUR 7155); DNC Resp. at 1 (MUR 7157), HFA Resp. at 2 (MUR 7155).
            26
                     DNC Resp. at 2 (MUR 7155).


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            Trump rallies. 27 Democracy Partners also questions the videos' authenticity, characterizing

       2    Foval's statements cited in the Complaint as factually inaccurate "puffery and bragging by a

       3    short-term contractor." 28 Democracy Partners specifically denies paying protesters and cites

       4    contemporaneous news articles in which several prominent protesters at Trump rallies denied

       S    being trained or induced by any third parties. 29

       6            C.       Voter Registration and GOTV Activity in Wisconsin

i~()    7           The Complaints allege that Americans United and Voces engaged in the Fall Plan, which
ti     8    resulted in prohibited in-kind contributions to HF A and the DNC. In support, both Complaints
~~
·4
o•.)   9    provided copies of the Fall Plan, which was written on Americans United letterhead. 30 The
0
l      IO   Compl"aints allege that Americans United and Voces developed and executed the Fall Plan in
~m
I"
;)
       11   consultation with HF A and the DNC. The Complaints also allege that the voter registration and

       12   GOTV activity listed in the Fall Plan were targeted to reach voters likely to SUPP.Ort Clinton and

       13   that they may have intentionally registered non-residents. 31

       14           Respondents state that the Fall Plan was only a proposal distributed by Americans United

       15   and Voces through a press release to generate interest in funding the proposed activities. 32 In his




            27
                     Americans United Resp. Attach. A (MUR 7155) ("AUFC did not pay anyone to protest at a Trump rally in
            Chicago on March 11, 2016 ...");Americans United Resp. Attach. A (MUR 7157) (Dec. 16, 2016) ("AUFC did not
            pay for signs carried by protesters at Trump rallies that read '#DumpTrump,' 'No Hate, No Racism, No Trump,' or
            'Nope' with images of Trump.").
            28
                     Democracy Partners Resp. at 4 (MUR 7155).
            29
                     Democracy Partners Resp. at 3 (MUR 7155).
            30
                     See Comp!. Ex. A (MUR 7155); Comp!. Exs. C, D (MUR 7157).
            31
                     See Comp!. Ex. C (MUR 7157).
            32
                     Americans United Resp. at 1 (MUR 7155). Voces filed a designation of counsel in MUR 7155, but did not
            submit a response.


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             declarations, Woodhouse states that Americans United did not carry out the Fall Plan and did not

        2    incur any expenses in connection with the proposed activities. 33

        3            D.       Shared Electoral Strategy and Messaging

        4            The Compl~ints allege that HF A and the DNC conducted weekly conference calls with

        5    the other respondents to "determine shared electoral strategy" and discuss plans to "shape

        6    content and messaging to benefit HF A and the DNC." 34 The Complaints allege that these calls
1
~~i.i   7    involved "material discussion" about the "timing, content, and audience" for public

~.i      8   communications disseminated by these outside groups "at or with the direction, approval, [or]
~i
...
 ·)      9   suggestion" of HF A and the DN C. 35 Respondents argue that this allegation is speculative and
r~
"l      IO   unsubstantiated by any information describing either the content of these alleged discussions or
;.i
f~      I1   any specific examples of alleged coordinated communications. 36

        12   I.       LEGAL ANALYSIS ·

        13           A.       Coordination Allegations

        14           The Act prohibits any person from making, and any candidate or committee from

        15   accepting or receiving, excessive or prohibited contributions. 37 In addition, corporations and

        16   independent-expenditure-only political committees are prohibited from making contributions to

        17   federal candidates. 38 The term "contribution'~ includes anything of value given for the purpose


             33
                     Id at Attach. A; Americans United Resp. Attach. A (MUR 7157).
             34
                      Comp!. at IO (MUR 7157).
             JS
                     Comp!. at 4 (MUR 7155).
             36
                     See Priorities USA Resp. at I (MUR 7157)(Jan. 9, 2017); Alliance for Retired Americans Resp. at I (MUR
             7157) (Nov. 9, 2016); DNC Resp. at 3 (MUR 7157} (Dec. 19, 2016); HFA Resp. at 4 (MUR 7157) (Dec. 19, 2016);
             Democracy Partners Resp. at 3 (MUR 7157)(Dec. 22, 2016).
             37
                      52 U.S.C. § 30116(a),.(f); see. e.g., 52 U.S.C. § 30118(a) (prohibiting makirig or knowingly receiving
             corporate or union contributions).
             38
                      Advisory Op. 2010-11 (Commonsense Ten).


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       1   of influencing a federal election. 39 Further, any expenditure made by a person "in cooperation,

      2    consultation, or concert, with, or at the request or suggestion of, a candidate, authorized political

      3    committee, or a national or state party committee" is considered an in-kind contribution. 40 These

      4    expenditures are deemed "coordinated" 41 and qualify as contributions to the candidate and must

       5   be reported as expenditures made by the candidate's authorized committee or political party

       6   committee. 42

~~     7            A communication that is coordinated with a candidate or his authorized committee or a
~l     8   political party committee is considered an in-kind contribution and is subject to the limits,
~i
~i
...    9   prohibitions, and reporting requirements of the Act. 43 Under Commission regulations, a
·[)
:l    IO   communication is coordinated with the candidate, the candidate's authorized committee, a
t.i
i'    11   political party committee, or an agent oftne can~idate, authorized committee, or party committee

      12   if it meets a three-prong test: (I) it is paid for, in whole or part, by a person other than the

      13   candidate, authorized committee, or national or state party committee; (2) it satisfies one of five

      14   content standards in 11 C.F.R. § 109.2l(c); 44 and (3) it satisfies one of six conduct standards




           39
                    52 U.S.C. § 30101(8)(A)(i).
           40
                    See 52 U.S.C. § 30116(a)(7)(B)(i)-(ii); see also 11 C.F.R. §§ 109.20, 109.2l(b).
           41
                    11 C.F.R. § 109.20(a).
           42
                    52 U.S.C. § 30116(a)(7)(B); 11 C.F.R. § 109.20(a).
           43
                    52 U.S.C. § 30116; 11C.F.R.§109.2l(b).
           44
                     The content prong is satisfied ifthe communication at issue meets at least one of the following content
           standards: ( 1) a communication that is an electioneering communication under 1 1 C.F .R. § 100.29; (2) a public
           communication that disseminates, distributes, or republishes, in whole or in part, campaign materials prepared by a
           candidate or the candidate's authorized committee; (3) a public communication that expressly advocates the election·
           or defeat of a clearly identified candidate for federal office; (4) a public communication that, in relevant part, refers
           to a clearly identified Presidential candidate, and is publicly distributed or disseminated in a jurisdiction 120 days or
           fewer before the candidate's primary election or nominating caucus in that jurisdiction; or (5) a public
           communication that is the functional equ_ivalent of express advocacy. 11C.F.R.§109.21(c)(l)-(5).


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 l   described in 11 C.F.R. § 109.2l(d). 45 All three prongs must be satisfied for a communication to

2    be coordinated under these regulations. 46

3             In addition, the national committee of a political party may make coordinated party

4    expenditures in connection with the presidential general election, subject to the limits established

5    by the Act and Commission regulations. 47 Coordinated party expenditures include

6    disbursements for communications that are coordinated with the candidate. 48 For the 2016

7    general election, national party committees were limited to making $23,821, 100 in coordinated

 8   party expenditures for presidential candidates. 49

9             The regulations further provide that an expenditure that is coordinated with a candidate,

10   authorized committee, or political party committee within the meanjng of section 109.20(a), but

11   was not made for either a coordinated communication or a party coordinated communication is

12   either an in-kind contribution to the candidate, authorized committee, or party committee, or a

13   party coordinated expenditure. so




     45
         ·    The six types of conduct that satisfy the conduct prong are: (I) a reque~t or suggestion; (2) material
     involvement; (3) a substantial discussion; (4) use ofa common vendor; (5) use ofa former employee or independent
     contractor; and (6) republication of campaign material. 11C.F.R.·§109.21(d)(l)-(6).
     46
              11 C.F.R. § 109.21(a); see also Explanation and Justification, Coordinated and Independent Expenditures,
     68 Fed. Reg. 421, 453 (Jan. 3, 2003) ("Coordination E&J"). See Factual and Legal Analysis at 5, MUR 7029
     (McGinty).
     47
              52 U.S.C. § 30116(d); 11 C.F.R. §§ 109.30, 109.32.
     48
              11 C.F.R. § 109.30. See also 1 l C.F.R. § 109.37 (defining a party coordinated communication as a
     communication that is (a) paid for by a political party committee or its agent; (b) satisfies at least one of three
     content standards; and (c) satisfies at least one of the conduct standards in 11 C.F.R. §§ 109.2l(d)(l) through (d)(6)).
     49
               Price Index Adjustments for Expenditure Limitations and Lobbyist Bundling Disclosure Threshold, 81 Fed.
     Reg. 7, I03 (Feb. l 0, 2016); see also Coordinated Party Expenditures for 2016, FEDERAL ELECTION COMMISSION,
     http://www.fec.gov/info/charts_cpe_2016.shtml.
     so       11 C.F.R. § 109.20(b).


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                             1. Coordinated Communications

       2             Priorities USA disclosed numerous independent expenditures for public communications

       3    supporting Clinton and criticizing Trump during the 2016 election cycle. 51 Thus, both the

       4    payment and content prongs of the coordinated communications test are satisfied as to Prioriti~s

       5    USA.

       6              As to the conduct prong, the Complaint in MUR 7157 makes a general allegation that all
1
-~~     7   of the communications Priorities USA reported as independent expenditures were, in fact,

~m      8   coordinated with the Clinton campaign, but it fails to provide any specific information to support
,m
~~~
I"'
.:>     9   the allegation. This factual insufficiency, by itself, supports a no-reason-to-believe finding as to


~/,·
 ~)
       10

       11
            Priorities USA. In addition, the Complaints' general allegations of coordination between the

            HFA and Priorities USA are sufficiently rebutted by Respondents' specific denials. 52

       12           The Commission has previously found that there was insufficient information on which

       13   to base an investigation into whether the conduct standard was met where a PAC had "ongoing

       14   communications" with party officials and elected officials, but the complainants neither

       15   identified which particular conduct standard would apply nor connected the discussions to any

       16   alleged coordinated cqmmunications. 53 . Respondents argue that these Complaints are similarly

       17   lacking. 54 The Complaints do not establish how these alleged discussions involving Priorities


            SI
                    See supra note 3.
            S2
                    See supra note 36.
            s3       See Factual & Legal Analysis at 3, MUR 5754 (MoveOn.org Voter Fund) ("Although the complaint alleges
            that 'MoveOn.org has made no secret of its ongoing communications with Democratic party officials ... and the
            elected Democratic leadership in the Senate and House,' it does not connect any such discussions to [MoveOn.org's]
            alleged 'coordinated communications."').
            s4       The DNC argues that because the Complaints failed to make any connections between supposed
            discussions and alleged coordinated communications, determining that they met the conduct prong would involve
            "rank speculation" in which the Commission has previously declined to engage. DNC Resp. at 4 (MUR 7157)
            (citing Factual & Legal Analysis at 3-4, MUR 5754 (MoveOn.org Voter Fund)). HFA and the DNC argue that the
            Complaints do not provide any information which, if true, would satisfy the conduct standard. Specifically, they

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        1   USA, HFA, and the DNC satisfy the conduct prong and do not link any particular discussions to

       2    any specific public communications. The factual record, therefore, does not support a conclusion

       3    that the conduct prong is satisfied regarding Priorities USA's independent expenditures.ss

       4             In addition, as the available information does not indicate that any Respondent other than

        5   Priorities USA and the DNC satisfies the payment prong of the coordinated communications test,

        6   there is no basis to conclude .that any other Respondent made or accepted excessive or prohibited

 ~      7   contributions in the form of coordinated communications.
-~l     8                     2. Party Coordinated Expenditures
 ~i
 1.i
 l)     9            There is information in the record that the DNC paid its vendors to conduct the "Donald
 ()
 ;~.
. ;)
       10   Ducks" operation, and may have paid its vendors to train or support protestors at Trump rallies. s6
 [)
       11   The DNC provided documenta~ion showing that it paid for the "Donald Ducks" operation

       12   pursuant to a contract with Mobilize.s 7 Democracy Partners, Americans United, Foval, and

       13   Creamer were involved in the "Donald Ducks" operation as vendors performing services -

       14   either directly or as subcontractors.-µnder Mobilize's contract with the DNC.

       15            As to the allegations regarding paying, organizing, and training protesters, Americans

       16   United stated that it did not pay anyone to protest at one Trump rally in Chicago and did not pay



            contend that the Complaints do not detail any specific calls, do not tie any specific discussions to any specific public
            communications, and "leave open the question of whether respondents even participated [in any conference calls] at
            all." See HFA Resp. at 2 (MUR 7155); see also DNC Resp. at 2 (MUR 7155).
            ss       See First Gen. Counsel's Rpt. at S, MUR 5467 (Michael Moore) ("The Commission cannot entertain
            complaints based on mere speculation that a person may violate the law at some future date."); Statement of
            Reasons, Comm'rs. Mason, Sandstrom, Smith & Thomas at 3, MUR 4960 (Hillary Rodham Clinton for Senate)
            ("[P]urely speculative charges, especially when accompanied by a direct refutation, do not form an adequate basis to
            find reason to believe that a violation of the FECA has occurred.") (citation omitted).
            S6       See supra note 16.
            s7       The DNC's and Democracy Partners's statements are corroborated by invoices the DNC provided and
            disclosure reports showing corresponding disbursements from the DNC to Mobilize. See DNC Resp. at 2-3, Ex. A
            (MUR 7155); Democracy Partners Resp. at 3-4 (MUR 7155).


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            for any signs carried by protesters at Trump rallies, and there is no information in the Complaints

       2    linking Americans United with training or organizing any protesters. 58 HF A, the DNC, and

       3    Democracy Partners, however, do not specifically address the broad allegation that they trained

       4    and organized protesters who appeared at Trump rallies, and some statements in the PVA videos

        5   suggest that Foval and Creamer may have provided these kinds of services. During the time the

        6   alleged training and organizing occurred, Democracy Partners, Creamer, and Foval were
1
~~[;    7   providing general political consulting services to the DNC under a contract between the DNC
4       8   and Mobilize. 59 The invoices the DNC provided do not itemize the services that Mobilize and its
~i
~i
B"'
;)      9   various subcontractors performed under the contract,.s~ it is possible that the services included
()
l      10   organizing and training protesters, as suggested by Foval and Creamer's statements cited in the
"!)
~l     11   Complaints. 60

       12           Even so, the coordination claims regarding "Donald Ducks" and protestor training and

       13   support fail for a different reason; the expenses associated with these activities fit within the

       14   DNC's available coordinated party expenditure limit. The DNC reported $23,383,306.68 in

       15   coordinated party expenditures supporting Clinton in the 2016 general election. 61 Both party

       16   coordinated communications and other types of coordinated party expenditures are aggregated

       17   and counted against the $23,821,100 limit. 62 Therefore, even if all of the DNC's $183,408.93 in


            SB
                    Americans United Resp. Attach. A (MUR 7155); Americans United Resp. Attach. A (MUR 7157).
            59
                      See Democracy Partners Resp. at l (MUR 7155) (identifying Foval as a subcontractor performing services
            under the Mobilize/DNC contract beginning in June, 2016).
            60
                    Disclosure reports indfoate that the DNC paid Mobilize $183,408.93 for political consulting services in
            2016. See supra note 16. Invoices show that $41,338.95 of what Mobilize received was related to services for the
            "Donald Ducks" project, but Respondents did not provide itemized invoices showing the services included in the
            remaining $142,069.98.
            61
                    See DNC Amended 2016 Year-End Report at 4 (Jun. l, 2017); DNC 2017 April Monthly Report at 4 (Apr.
            20, 2017).
            62      See 11 C.F.R. § l09.37(b).


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            disbursements to Mobilize were coordinated with HFA, the DNC's total party coordinated

       2    expenses for the 2016 presidential general election would have been $23,566,715.61 - still

       3    below the legal limit. 63

       4                     3. Coordinated Expenditures

        5           As to the remainder of the coordination allegations, the Complaints do not provide any

        6   information indicating that the activities outlined in the Fall Plan and any associated GOTV
:.l
n       7   activities actually occurred, and do not identify any associated expenditures by any Respondent.
0
 ~i         Additionally, Americans United stated that it "did not carry out, and incurred no expenses" in
.~m     8
 ~i
 1•     9   connection with the proposed Fall Plan and that it was merely a proposal distributed by
 (~
 lI·
 ·,)
       IO   Americans United and Voces through a press release to generate interest in funding the proposed
 ')
 ~·    11   activities. 64 In light of the lack of supporting information in the Complaints and Respondents'

       12   specific denials, the available information does not support a finding that any Respondent made

       13   or accepted in-kind contributions in the form of coordinated expenditures in connection with the

       14   Fall Plan.

       15           As the information in the record does not support the coordination allegations outlined in

       16   the Complaints, the Commission finds that there is no reason to believe that Respondents

       17   violated the Act by making or accepting excessive or prohibited in-kind contributions.

       18           B.       Reporting Violations

       19           The Complaints allege that if the activities at issue are found to be coordinated

       20   communications, then HFA and the DNC failed to disclose the resulting contributions. As the

       21   Commission concludes that there is no reason to believe regarding the coordination i;tllegations,

            63      See supra notes 16 and 49.
            64
                     See Americans United Resp. at 1, Attach. A (MUR 71SS); Americans United Resp. Attach. A (MUR 71S7).
            Voces filed a designation of counsel in MUR 71 SS, but did not submit a response.


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    the Commission also finds that there is no reason to believe that Respondents violated the

2   reporting provisions of the Act.




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                FEDERAL ELECTION COMMISSION
                WASHINGTON, D.C. 20463




CERTIFIED MAIL
RETURN RECEIPT REQUESTED
James O'Keefe III
Project Veritas Action Fund
                                                    JUL 27 2018
1214 E Boston Post Road
Mamaroneck, NY I 0543

                                                   RE:    MUR 7157
                                                          Hillary for America, et qi.
Dear Mr. O'Keefe:

         On July 17, 2018, the Federal Election Commission reviewed the allegations in your
complaint dated October 20, 2016, and the supplement filed on March 23, 2017, and found that
on the basis of the information provided in your complaint and infonnation provided by the
respondents, there is no reason to believe that Hillary for America and Jose Villareal in his
official capacity as treasurer and the Democratic National Committee and Andrew Tobias in his
Qfficial capacity as treasurer violated 52 U.S.C. §§ 30104(b), 30 l l 6(t), and 30118(a) by
accepting and failing to report excessive or prohibited in-kind contributions. Additionally, the
Commission found that there is no reason to believe that Scott Foval violated 52 U.S.C.
§ 30116(a) by making excessive in-kind contributions. Lastly, the Commission found that no
reason to believe that Priorities USA Action, Democracy Partners, Americans United for Change,
The Foval Group, and Alliance for Retired Americans violated 52 U.S.C. §§ 30116(a)(2)(A) or
30118(a) by making excessive or prohibited in-kind contributions. Accordingly, the Commission ·
closed the file in this matter.

       Documents related to the case will be placed on the public record within 30 days. See .
Disclosure of Certain Documents in Enforcement and Other Matters, 81 Fed. Reg. 50,702 (Aug.
2, 2016), effective September 1, 2016. The Factual and Legal Analysis, which more fully
explains the Commission's findings is e~closed.

        The Federal Election Campaign Act of 1971, as amended, allows a complainant to seek
judicial review of the Commission's dismissal of.this action. See 52 U.S.C. § 30109(a)(8).

                                                   Sincerely,


                                                   Lisa J. Stevenson
                                                   Acting General Counsel
                                                    ~";(~/&V
                                             BY: Lynn Y. Tran
                                                 Assistant General Counsel
Enclosure
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                                                                                                Pltf. Ex. 129
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                  FEDERAL ELECTION COMMISSION
                  WASHINGTON, D.C. 20463




Neil Reiff, Esq.                              JUI      2 7 2018
Sandler, Reiff, Lamb, Rosenstein & Birkenstock,T.C.
1090 Vermont Avenue, NW, Suite 750
Washington, DC 20005

                                             RE: MURs 7155 & 7157
                                                 Democracy Partners

Dear Mr. Reiff:

        On October 26 and 27, 2016, and March 28, 2017, the Federal .Election Commission
notified your client, Democracy Partners, of two complaints alleging violations of certain
sections of the Federal Election Campaign Act of 1971, as amended. On July 17, 2018, the
Commission found, on the basis of the infonnation in the complaints and information prov id~
by your client, that there is no reason to believe that Democracy Partners violated 52 U.S.C.
§§ 301 I 6(a)(2)(A) or 30118(a) by making excessive or prohibited in-kind contributions.
Acc~rdingly, the Commission closed its files in these matter.

       Documents related to the cases will be placed on the public record within 30 days. See
Disclosure of Certain Documents in Enforcement and Other Matters, 81 Fed. Reg. 50, 702 (Aug.
2, 2016). The Factual and Legal Analysis, which explains the Commission's findings, is
enclosed for· your information.

        lfyou have any questions, please contact Ray Wolcott, the attorney assigned to this
matter, at (202) 694-1302.

                                                    Sincerely,



                                                    Lynn Y. Tran
                                                    Assistant General Counsel

Enclosure
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       l                              FEDERAL ELECTION COMMISSION
      2
      3                                FACTUAL AND LEGAL ANALYSIS
      4
       s   RESPONDENTS:          Hillary for America and Jose Villarreal in his           MUR: 7155
       6                              official capacity as treasurer
       7                         The Democratic National Committee and
       8                               Andrew Tobias in his official capacity as
       9                               treasurer
      10                         Democracy Partners
      II                         Bob Creamer
l     12                         Americans United for Change
~~                               Scott Foval OBA The Foval Group
()    13
~i    14                         Voces de la Frontera Action
~~    15
4
...   16   RESPONDENTS:          Hillary for America and Jose Villarreal in his           MUR: 7157
;)    17                               official capacity as treasurer
(~    18                         The Democratic National Committee and
')
~~    19                               Andrew Tobias in his official capacity as
j$    20                               treasurer
      21                         Priorities USA Action
      22                         Democracy Partners
      23                         Americans United for Change
      24                         Scott Foval OBA The Foval Group
      25                         Alliance for Retired Americans

      26   I.     INTRODUCTION

      27          The Complaints allege that Priorities USA Action ("Priorities USA"), Democracy

      28   Partners, Bob Creamer, Americans United for Change ("Americans Unit~"), Scott Foval DBA

      29   The Foval Group ("Foval"), Voces de la Frontera Action ("Voces"), and Alliance for Retired

      30   Americans made prohibited in-kind contributions in the form of coordinated expenditures to

      31   Hillary for America and Jose Villarreal in his official capacity as treasurer ("HfA") and the

      32   Democratic National Committee and Andrew Tobias in his official capacity as treasurer (the

      33   "DNC"), in violation of the Federal Election Campaign Act of 1971, as amended (the "Act") and
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1    Commission regulations. The Complaint also alleges that HF A and DNC accepted these

2    contributions and did not repon them. 1

3            Because the available information does not indicate that any of the activities identified in

4    the Complaints resulted in prohibited or excessive contributions, the Commission finds no reason

5    to believe that Respondents violated the Act and closes the files.

6    D.      FACTUAL BACKGROUND

7            HFA is the principal campaign committee for Hillary Clinton's 2016 presidential

8    campaign. 2 Priorities USA is an independent-expenditure-only political c~mmittee ("IEOPC")

9    that made independent expenditures during the 2016 general election advocating for Hillary

10   Clinton and against Donald Trump. 3 Alliance for Retired Americans and Voces are both

11   nonprofit organizations registered under section 501 {c){4) of the Internal Revenue Code. 4

12           Democracy Partners is a political consulting firm with partners who each maintain their

13   own businesses. 5 Bob Creamer, a partner at Democracy Partners, maintains Mobilize, Inc.

14   ("Mobilize''), and he is affiliated with Americans United, a section 50l(c)(4) organization. 6

15   Scott Foval was employed by Americans United from August 2016 through October 17, 2016. 7



             See Compl. at 3-4 (MUR "71SS) (Oct. 19, 2016); Compl. at 14-IS (MUR 71S7) (Oct. 20, 2016); Supp.
     Compl. at9-13 (MUR 71S7)(Mar. 27, 2017) ("Supp.").
     2       Statement of Organization, Hillary for America(Apr. 13, 2015).
               See generally 2016 28/48-Hour Notices oflndependent Expenditures, Priorities USA (showing that
     Priorities USA made more than $126 million in independent expenditures related to the 2016 general election for
     President).
     4         PROPUBLICA NONPROFIT EXPLORBR: ALLIANCE FOR RETIRED AMERICANS,
     https://projects.propublica.org/nonprofitsforganizations/S2227780S (last visited Mar. 21, 2017) (The associated PAC
     is registered under Committee ID C00436188 which reported no contributions or independent expenditures during
     the 2016 election cycle.); VOCES DELA FRONTERA ACTION, http:l/www.vdlfa.org/about_us/ (last visited Apr. 2S,
     2017).
             Democracy Partners Resp. at I (MUR 71SS) (Dec. 22, 2016).
     6
             See Democracy Partners, Robert C. Creamer, http://www.democracypartners.com/?q=partners/robert-
     creamer (last viewed May 1, 2017) (describing Creamer as a "General Consultant to Americans United for Change
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                     Project Veritas Action Fund ("Project Veritas Action"), the Complainant in MUR 7157,

      2    released a series of four hidden camera videos (the "PVA videos"), the first of which contained

      3    conversations between Foval, Creamer, and undercover PVA representatives posing ·as agents for

      4    a donor named "Charles Roth." 8 These PVA videos and other documents collected during the

      5    undercover investigation form the basis for the Complaints.

i~
[)
      6              The Complaint in MUR 7155 alleges that Americans United, Voces, Democracy

~i    7    Partners, and Foval made coordinated communications at the request or suggestion of, or after
~i
~~     8   substantial discussions with, HFA and the DNC. 9 The Complaint and its supplement in MUR
...
;)

~l    9    7157 allege that Priorities USA, Alliance for Retired Americans, Americans United, HFA, and
~5
'~
I'"
;)
      10   the DNC engaged in a criminal conspiracy to knowingly and willfully violate the Act and

      11   Commission regulations by making, accepting, and not reporting prohibited and excessive

      12   contributions in the form of coordinated communications. 10 The specific activities alleged in the

      13   Complaints are:

      14        •    Americans United coordinated with HF A and the DNC on an operation known as
      15             ''Donald Ducks," which consisted of a person in a duck costume appearing at Trump
      16             campaign events and carrying a sign reading "Donald Ducks Releasing His Tax
      17             Retums;" 11
      18
      19        •    Democracy Partners, Americans United, Creamer, and Foval coordinated with HFA and
      20             the DNC to pay protesters to appear at Trump rallies; 11

           where he helped coordinate the campaigns to pass President Obama's landmark jobs and economic recovery
           legislation"); Comp). Ex. G (MUR 7ISS) (email from Creamer sending a proposal for SS0,000 in "voter
           mobilization" services on behalf of Am~ricans United and Voces).
           7
                     See Comp!. Ex. A at 5 (MUR 7157).
           8
                     Philip Elliot, Everything We Know about the Lalest James O'Keefe Video Sting, TIME (Oct. 18, 2016),
           http://time.com/4536212/james-okeefe-project-veritas-video-democrats.
           9
                     Compl. at 3-4 (MUR 71SS).
           10        Comp!. at 2, 14-lS (MUR 71S7); Supp. at 9-13 (MUR 71S7).
           II
                     See Compl. at 9 (MUR 7157); Compl. at S, Ex. D (MUR 7155); Supp. at 9-13 (MUR 7157).
           12        See Compl. at 3 (MUR 7155); Comp!. at 14-15 {MUR 7157); Supp. at 9-13 (MUR 7157).
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         1
         2         •    AIDericans United and Voces coordinated with HFA and the DNC on a get-out-the-vote
         3              drive called "Vote November 8th for a Stronger Economy that Makes Us Stronger
         4              Together'' (the "Fall Plan''), which involved alleged fraudulent registration of non-
          s             residents in Wisconsin; 13 and
          6
          7        •    Priorities USA, Americans United, Alliance for Retired Americans, Democracy Partners,
          8             Voces, Foval, and Creamer made public communications based on "shared electoral
          9             strategy~' and messaging developed in coordination with HFA and the DNC. 14

l        10             A.       "Donald Ducks"
B
()
4        11             The Complaints argue that "Donald Ducks" was a public communication by Americans
~m
~m       12   United, made after substantial discussions and with material involvement from both HFA and the
I"'

t~       13   DNC. Specifically, the Complaints allege that Am~ricans United implemented the "Donald
·~~)'~   14   Ducks" operation that the DNC and HFA originally developed. 15

         15             The DNC argues that it conducted the "Donald Ducks" operation through a contract with

         16   Mobilize, and it provided invoices showing that the DNC paid the associated expenses. 16

         17   Mobilize, in tum, subcontracted with Foval, although it is unclear whether Mobilize contracted

         18   with Foval individually, with Foval's LLC, or with Americans United. 17 Foval provided services


              IJ        See Compl. at 4 (MUR 71SS); Compl. at 14-IS (MUR 71S7); Supp. at 9-13 (MUR 7157).
              14        See id
                        See id
              16
                        The DNC provided invoices showing that it paid for the "Donald Ducks" operation under a contract that the
              DNC and Mobilize entered into in June 2016 (the "Mobilize contract") for Mobilize to "coordinate events and
              actions" related to the 2016 Presidential Election. Democracy Partners Resp. at l (MUR 71SS). Disclosure reports
              show disbursements from the DNC to Mobilize, Inc., which mirror the invoices. See DNC Resp. at 2 (MUR 71 SS)
              (Dec. 19, 2016); DNC 2016 Amended October Monthly Report (Jun. 1, 2017). Disclosure reports also indicate that
              Mobilize's work for the DNC was not limited to the "Donald Ducks" operation. See DNC 2016 Amended August
              Monthly Report (Jun. I, 2017); DNC 2016 Amended September Monthly Report (Jun. I, 2017); DNC 2016
              Amended October Monthly Report(Jun. l, 2017); DNC 2016 Amended Pre-General Report (Jun. I, 2017); DNC
              2016 Amended Pre-General Report (Jun. J, 2017); DNC 2016 Amended Year-Bod Report (Jun. I, 2017) (disclosing
              a total of $183,408.93 in payments from the DNC to Mobilize). Respondents provided documentation showing that
              $41,338.95 of the disbursements related to services for the "Donald Ducks" operation, but did not provide itemized
              invoices showing the services included in the remaining S142,069.98.
              17
                       See Democracy Partners Resp.at J (MUR 71SS) ("Scott Foval was engaged as a sub-contractor in June of
              2016."); Compl. Ex. F at 2 (MUR 7155) (quoting Foval as saying "I am contracted with [Bob Creamer] ... DNC
              pays Democracy Partners, Democracy Partners pays the Foval Group, The Foval Group goes and executes ..."); .Tee
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             under the subcontract from June 2016 until October I 7, 20 I6, when Americans United

       2     tenninated him. 18 Although both the Complaints and several press reports suggest that "Donald

       3     Ducks" was "transferred" from the DNC to Americans United at some point - after the DNC

       4     received negative press regarding possible copyright infringement -Americans United's

        s    President, Brad Woodhouse, provided two sworn declarations stating that Americans United did

~
(;
~m
       6     not pay for any expenses associated with "Donald Ducks." 19

,m      7              B.       Paid Protesters
~m
 I'"
 .)     8              The Complaints allege generally that Democracy Partners, Creamer, Foval, and
(~
~)

'·
.r)     9    Americans United paid and coached protesters at :rump campaign rallies; that HF A and the
'·•f
!      IO    DNC reviewed and approved the messages the protestors used; and that these activities

       11    constituted coordinated communications by Democracy Partners, Creamer, Foval, and

       12    Americans United. 20 Specifically, the Complaints point to press coverage of a Trump rally in

       13    Chicago on March 11, 2016, and ponions of the PVA Videos during which a Democracy

       14    Partners employee says 11 [s]o the Chicago protest when they shut all that, that was us." 21 In

       15    support of the more general allegation regarding paying and training protesters, the Complaints

       16    highlight Foval 's statements in the PVA videos claiming that he and Creamer are the primary


             also Comp!. Ex. A at S-9 (MUR 71S7) (Foval alternates between identifying himself as a "contractor" and
             "consultant'').
             18        See Democracy Partners Resp. at l (MUR 7 lSS); David Weigel, Two Democratic Operatives Lose Jobs
             After James 0 'Keefe Sting, THE WASHINGTON POST (Oct. 19, 2016), https://www .washingtonpost.com/news/post-
             politics/wp/2016/10/19/two-democratic-operatives-lose-jobs-after-james-okeefe-sting/?tid=pm_pop_b (stating that
             "Foval was laid off Monday (Oct. 17, 2016) by Americans United for Change, where he had been national field
             director").
              19
                       See Americans United Resp. Attach. A (MUR 71 SS) (Dec. 16, 2016); Americans United Resp. Attach. A
              (MUR 7157) (Dec. 16, 2016). In both declarations, Woodhouse states that the Americans United's "sole expenses
              associated with the effort consisted of staff time to prepare and issue press releases about the effort over the internet,
            . along with unpaid Twitter messaging." Id
             20        Comp!. at 2 (MUR 71SS); Compl. at S-7, 14 (MUR 7JS7).
             21        See Compl. Bx. C, Ex.Fat 4 (MUR 71SS).
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           organizers of the protests at Trump campaign events and that the DNC and HFA "cleared" the

      2    protesters' proposed messaging. 22 The Complaint also relies on Foval's statements referring to

      ·3   paying protesters:

      4         •    "We have to be really careful because what we don't need is for it to show up on CNN
       5             that the DNC paid for X people to; that's not going to happen." 23

:l     6        •    "I'm saying we have mentally ill people that we pay to do [expletive), make no mistake.
8      7             Over the last 20 years, l have paid off a few homeless guys to do some crazy· stuff ...." 24
f)
~i     8   The PVA videos on which the Complaints rely provide no specific context for these statements.
~i
~i     9             .HFA and the DNC question the authenticity of the PVA videos, arguing that Project
I'"
~)
()
 ')   10   Veritas "devised the questions themselves, cherry-picked excerpts of responses, and presented
.~,

~~    11   them out of context. 2s The DNC also argues that the Complaints fail to present facts which

      12   support the coordination allegation. 26 Americans United also challenges the videos' authenticity

      13   and provided an affidavit in which Brad Woodhouse attests that Americans United neither paid

      14   any protesters to appear at the Chicago Trump rally nor paid for any signs carried by protesters at

      15   Trump rallies. 27 Democracy Partners also questions the videos' authenticity, characterizing

      16   Foval's statements cited in the Cpmplaint as factually inaccurate "puffery and bragging by a

      17   short-term contractor." 28 Democracy Partners specifically denies paying protesters and cites


           32
                    See Compl. at S-7, Ex. A at S-9 (MUR 71SS); see also Project Veritas Action, Rigging the E/ection-
           Video I: Clinton Campaign and DNC Incite Violence al Trump Rallies [video] at 7:20, 7:28, 8:40, 8:SO, YouTUBE
           (Oct 17. 2017), https://www.youtube.com/watch?time_continue=3&v=SluJGHulkzY ("Rigging the Election").
           23        Rigging the Election at 10:20.
                     Rigging the Election at 13:SO.
           25        See DNC Resp. at 2 (MUR 71SS); DNC Resp. at l (MUR 7157), HFA Resp. at 2 (MUR 71SS).
           26
                     DNC Resp. at 2 (MUR 71SS).
           27
                    Americans United Resp. Attach. A (MUR 7155) ("AUFC did not pay anyone to protest at a Trump rally in
           Chicago on March 11, 2016 ...");Americans United Resp. Attach. A (MUR 7157) (Dec. 16, 2016) ("AUFC did not
           pay for signs carried by protesters at Trump rallies that read '#DumpTrump,' 'No Hate, No Racism, No Trump,' or
           'Nope' with images of Trump.").
           28
                     Democracy Partners Resp. at 4 (MUR 71 SS).
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            contemporaneous news articles in which several prominent protesters at Trump rallies denied

       2    being trained or induced by any third parties. 29

       3             C.      Voter Registration and GOTV Activity in Wisconsin

       4            The Complaints allege that Americans United and Voces engaged in the Fall Plan, which

       5    resulted in prohibited in-kind contributions to HFA and the DNC. In support, both Complaints

1      6    provided copies of the Fal1 Plan, which was written on Americans United letterhead. 30 The
0
 [)
.~i    7    Complaints allege that Americans United and Voces developed and executed· the Fall Plan in
 ~i
 ~i     8   consultation with HFA and the DNC. The Complaints also allege that the voter registration and
 I"'

 t1    9    GOTV activity listed in the Fall Plan were targeted to reach voters likely to support Clinton and
 's    10   that they may have intentionally registered non-residents. 31
 ~~
       11            Respondents state that the Fall Plan was only a proposal distributed by Americans United

       12   and Voces through a press release to generate interest in funding the proposed activities. 32 In his

       13   declarations, Woodhouse states that Americans United did not carry out the Fall PJan and did not

       14   incur any expenses in connection with the proposed activities. 33

       15            D.      Shared Electoral Strategy and Messaging

       16            The Complaints allege that HFA and the DNC conducted weekly conference calls with

       17   the other respondents to "determine shared electoral strategy" and discuss plans to "shape

       18   content and messaging to benefit HFA and the DNC." 34 The Complaints allege that these calls


            29       Democracy Partners Resp. at 3 (MUR 7155).
            30.
                     See Compl. Ex. A (MUR 7155); Compl. Exs. C, D (MUR 7157).
            ll       See Comp!. Ex. C ~ 7157).
            32       Americans United Resp. at 1 (MUR 7155). Voces filed a designation of counsel in MUR 7155, but did not
            submit a response.
            33       Id at Attach. A; Americans United Resp. Attach. A (MUR 7157).
            J4
                     Compl. at 10 (MUR 7157).
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     involved "material discussion" about the "timing, content, and audience" for public

2    communications disseminated by these outside groups "~tor with the direction, approval, [or]

3    suggestion" of HFA and the DNC. 35 Respondents argue that this allegation is speculative and

4    unsubstantiated by any infonnation describing either the content of these alleged discussions or

 5   any specific examples of alleged coordinated communications. 36

6    I.      LEGAL ANALYSIS

7            A.       Coordination Allegations

 8           The Act prohibits any person from making, and any candidate or committee from

 9   accepting or receiving, excessive or prohibited contributions. 37 In addition, cori>orations and

10   independent-expenditure-only political committees are prohibited from making contributions to

11   federal candidates. 38 The term "contribution" includes anything of value given for the purpose

12   of influencing a federal election. 39 Further, any expenditure made by a person "in cooperation,

13   consultation, or concert, with, or at the request or suggestion of, a candidate, authorized political

14   committee, or a national or state party committee" is considered an in-kind contribution. 40 These

15   expenditures are deemed "coordinated" 41 and qualify as contributions to the candidate and must




     JS      Compl. at 4 (MUR 7155).
     J6      See Priorities USA Resp. at 1 (MUR 7157) (Jan. 9, 2017); Alliance for Retired Americans Resp. at I (MUR
     7157) (Nov. 9, 2016); DNC Resp. at 3 (MUR 7157) (Dec. 19, 2016); HFA Resp. at 4 (MUR 7157) (Dec. 19, 2016);
     Democracy Partners Resp. at 3 (MUR 7157)(Dec. 22, 2016):
     37       52 U.S.C. § 30116(a), (f); see, e.g., 52 U.S.C. § 30118(a) (prohibiting making or knowingly receiving
     corporate or union contributions).                                   ·
     JI      Advisory Op. 2010-11 (Commonsense Ten).
     J9       52 u.s.c. § 30101(8)(AXi).
     40      See 52 U.S.C. § 30116(a)(7XB)(i)-(ii); see also 11 C.F.R. §§ 109.20, 109.21(b).
     41
              11 C.F.R. § 109.20(a).
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            be reported as expenditures made by the candidate's authorized committee or political party

       2    committee. 42

       3             A communication that is coordinated with a candidate or his authorized committee or a

       4    political party committee is considered an in-kind contribution and is subject to the limits,

        5   prohibitions, and reporting requirements of the Act. 43 Under Commission regulations, a

l       6   communication is coordinated with the            candi~ate,   the candidate's authorized committee, a
~~[·
¢i     7    political party committee, or an agent of the candidate, authori?.ed committee, or party committee
~m
~m
l!I'
        8   if it meets a three-prong test: (1) it is paid for, in whole or part, by a person other than the
.)
[~      9   candidate, authorized committee, or national or state party committee; (2) it satisfles one of five
r)

~s          content standards in 11 C.F .R. § l 09 .21 (c); 44 and (3) it satisfies one of six conduct standards
       10
;~
       11   described in 11 C.F.R. § 109.2l(d). 45 All three prongs must be satisfied for a communication to
                                                             46
       12   be coordinated under these regulations.

       13            In addition, the national committee of a political party may make coordinated party

       14   expenditures in connection with the presidential general election, subject to the limits established




            42       52 U.S.C. § 301 J6(a)(7)(B); I I C.F.R. § J09.20(a).
            43
                     52 U.S.C. § 30116; J J C.F.R. § J09.2J(b).
            44
                      The content prong is satisfied if the communication at issue meets at least one of the following content
            standards: (I) a communication that is an electioneering communication under J 1C.F.R.§100.29; (2) a public
            communication that disseminates, distributes, or republishes, in whole or in part, campaign materials prepared by a
            candidate or the candidate's authorized committee; (3) a public communication that expressly advocates the election
            or defeat of a clearly identified candidate for federal office; (4) a public communication that, in relevant part, refers
            tQ a clearly identified Presidential candidate, and is publicly distributed or disseminated in a jurisdiction 120 days or
            fewer before the candidate's primary election or nominating caucus in that jurisdiction; or (5) a public
            communication that is the functional equivalent of express advocacy. 11C.F.R.§109.21(cXJ)-(5).
            45
                     The six types of conduct that satisfy the conduct prong are: ( 1) a request or suggestion; (2) material
            involvement; (3) a substantial discussion; (4) use of a common vendor; (5) use of a former employee or independent
            contractor; and (6) republication of campaign material. J 1 C.F.R. § J09.2J(dXJ)-(6).
            46
                     J1 C.F.R. § J09.2l(a); see also Explanation and Justification, Coordinated and Independent Expenditures,
            68 Fed. Reg. 421, 453 (Jan. 3, 2003) ("Coordination E&J"). See Factual and Legal Analysis at S, MUR 7029
            (McGinty).
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              by the Act and Commission regulations. 47 Coordinated party expenditures include

          2   disbursements for communications that are coordinated with the candidate. 48 For the 2016

          3   general election, national party committees were limited to making $23,821, l 00 in coordinated

          4   party expenditures for presidential candidates. 49

          s            The regulations further provide that an expenditure that is coordinated with a candidate,
:l
n         6   authorized committee, or political party committee within t~e meaning of section 109.20(a), but
(~
~~        7   was not made for either a coordinated communication or a party coordinated communication is
~~
-.iI'"    8   either an in-kind contribution to the candidate, authorized committee, or party committee, or a
(~
~)
          9   party coordinated expenditure. so
~}
~.       10                     I. Coordinated Communications

         11             Priorities USA disclosed numerous independent expenditures for public communications

         12   supporting Clinton and criticizing Trump during the 2016 election cycle.s 1 Thus, both the

         13   payment and content prongs of the coordinated communications test are satisfied as to Priorities

         14   USA.

         15             As to the conduct prong, the Complaint in MUR 7157 makes a general allegation that all

         16   of the communications Priorities USA reported as independent expenditures were, in fact,

         17   coordinated with the Clinton campaign, but it fails to provide any specific infonnation to support

         18   the allegation. This factual insufficiency, by itself, supports a no-reason-to-believe finding as to

              41
                       52 U.S.C. § 30116(d); 11 C.F.R. §§ 109.30, 109.32.
              48
                       11 C.F.R. § 109.30. See also 11 C.F.R. § 109.31 (defining a party coordinated communication as a
              communication that is (a) paid for by a political pany committee or its agent; (b) satisfies at least one of three
              content standards; and (c) satisfies at least one of the conduct standards in 11 C.F.R. §§ I 09.2l(d)(1) through (d)(6)).
                                 '
              49
                        Price I~dex  Adjustments for Expenditure Limitations and Lobbyist Bundling Disclosure Threshold, 81 fed.
              Reg. 7, I 03 (Feb. 10, 2016); see also Coordinated Party Expenditures for 20 I 6, FEDERAL ELEcnoN COMMISSION,
              http://www.fec.gov/info/charts_cpe_2016.shtml.
              50       11 C.F.R. § 109.20(b).
              51       See supra note 3.
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            Priorities USA. In addition, the Complaints' general allegations of coordination between the

       2    1-WA and Priorities USA are sufficiently rebutted by Respondents' specific denials. 52

       3             The Commission has previously found that there was insufficient information on whic~

       4    to base an investigation into whether the conduct standard was met where a PAC had "ongoing

       5    communications" with party officials and elected officials, but the complainants neither

l      6    identified which particular conduct standard would apply nor connected the discussions to any
~~
(·
       7    alleged coordinated ·communications. 53 Respondents argue that these Complaints are similarly
~'~i
~i      8   lacking. 54 The Complaints do not establish how ·these alleged discussions involving Priorities
1·
(~      9   USA, HfA, and the DNC satisfy the conduct prong and do not link any particular discussions to .
~)


~~     10   any specific public communications. The factual record, therefore, does not support a conclusion

       11   that the conduct prong is satisfied regarding Priorities USA' s independent expenditures. ss

       12            In addition, as the available information does not indicate that any Respondent other than

       13   Priorities USA and the DNC satisfies the payment prong of the coordinated communications test,




            s2       See supra note 36.
            s3        See Factual&. Legal Analysis at 3, MUR 5154 (MoveOn.org Voter Fund) ("Although the complaint alleges
            that 'MoveOn.org has made no secret of its ongoing communications with Democratic party officials ... and the
            elected Democratic leadership in the Senate and House,' it does not connect any such discussions to [MoveOn.org's]
            alleged 'coordinated communications."').
            54
                     The DNC argues that because the Complaints failed to make any connections between supposed
            discussions and alleged coordinated communications, determining that they met the conduct prong would involve
            "rank speculation" in which the Commission has previously declined to engage. DNC Resp. at 4 (MUR 7157)
            (citing Factual&. Legal Analysis at 3-4, MUR 5754 (MoveOn.org Voter Fund)). .HFA and the DNC argue that the
            Complaints do not provide any information which, iftrue, would satisfy the conduct standard. Specifically, they
            contend that the Complaints do not detail any specific calls, do not tie any specific discussions to any specific public
            communications, and "leave open the question of whether respondents even participated [in any conference calls] at
            aU." See HFA Resp. at 2 (MUR 7155); see al.Yo DNC Resp. at 2 (MUR 7155).
            ss       See First Gen. Counsel's Rpt. at 5, MUR 5467 (Michael Moore) (''The Commission cannot entertain
            complaints based on mere speculation that a person may violate the law at some future date."); Statement of
            Reasons, Comm'rs. Mason, Sandstrom, Smith&. Thomas at 3, MUR 4960 (Hillary Rodham Clinton for Senate)
            ("[P]urely speculative charges, especially when accompanied by a direct refutation, do not form ·an adequate basis to
            find reason to believe that a violation of the PECA has occurred.") (citation omined).
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            1     there is no basis to conclude that any other Respondent made or accepted excessive or prohibited

            2     contributions in the form of coordinated communications.

            3                     2. Party Coordinated Expenditures

            4             There is information in the record that the DNC paid its vendors to conduct the "Donald

            5     Ducks" operat~on, and may have paid its vendors to train or support protestors at Trump rallies. 56
    l       6.    The DNC provided documentation showing that it paid for the "Donald Ducks" operation
.   ~~
    (•
            7     pursuant to a contract with Mobilize. 57 Democracy Partners, Americans United, Foval, and
    '~
    ~i
    ~i       8    Creamer were involved in the "Donald Ducks" operation as vendors performing services -
    I"'
    .)
. (~        9     either directly or as subcontractors- under Mobilize's contract with the DNC.
    ~)

    .e;'·
    ;i      10            As to the allegations regarding paying, organizing, and training protesters, Americans

            11    United stated that it did not pay anyone to protest at one Trump rally in Chicago and did not pay

            12    for any signs carried by protesters at Trump rallies, and there is no information in the Complaints

            13    linking Americans United with training or organizing any protesters. 58 HFA, the DNC, and

            14    Democracy Partners, however, do not specificaJly address the broad allegation that they trained

            15.   and organized protesters who appeared at Trump rallies, and some statements in the PVA videos

            16    suggest that Foval and Creamer may have provided these kinds of services. During the time the

            17    alleged training and organizing occurred, Democracy Partners, Creamer, and Foval were

            18    providing general.political consulting services to the DNC under a contract between the DNC

            19    and Mobilize. 59 The invoices the DNC provided do not itemize the services that Mobilize and its


                  S6      See .rupra note 16.
                  57       The DNC's and Democracy Partners's statements are corroborated by invoices the DNC provided and
                  disclosure repor1s showing corresponding disbursements from the DNC to Mobilize. See DNC Resp. at 2-3, Ex. A
                  (MUR 7155); Democracy Partners Resp. at 3-4 (MUR 7155).
                  SI      Americans United Resp. Attach. A (MUR 7155); Americans United Resp. Attach. A (MUR 7157).
                  59        See Democracy Partnen Resp. at I (MUR 7155) (identifying Foval as a subcontractor performing services
                  under the Mobilize/DNC contract beginning in June, 2016).
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          1    various subcontractors performed under the contract, so it is possible that the services included

          2    organizing and training protesters, as suggested by Foval and Creamer's statements cited in the

          3    Complaints. 60   .


          4            Even so, the coordination claims regarding "Donald Ducks" and protestor training and

          5    support fail for a different reason; the expenses associated with these activities fit within the

1         6    DNC's available coordinated party expenditure limit. The DNC reported $23,383,306.68 in
~~~i      7    coordinated party expenditures supporting Clinton in the 2016 general election. 61 Both party
~i
-.ij'!'    8   coordinated communications and other types of coordinated party expenditures are aggregated
 ,)
()        9    ~nd counted against the $23,821,100 limit. 62 Therefore, even if all of the DNC's $l83,408.93 in
')

·1~       10   disbursements to Mobilize were coordinated with HFA, the DNC's total party coordinated
·''·>
          11   expenses for the 2016 presidential general election would have been $23,566, 71 S.61 - still

          12   below the legal limit. 63

          13                    3. Coordinated Expenditures

          14            As to the remainder of the coordination allegations, the Complaints do not provide any

          15   information indicating that the activities outlined in the Fall Plan and any associated GOTV

          16   activities actually occurred, and do not identify any associated expenditures by any Respondent.

          17   Additionally, Americans United stated that it "did not carry out, and incurred no expenses" in

          18   connection with the proposed Fall Plan and that it was merely a proposal distributed by


               60
                       Disclosure repor1s indicate that the DNC paid Mobilize S183,408.93 for political consulting services in
               2016. See supra note 16. Invoices show that S4l,338.95 of what Mobilize received was related to services for the
               "Donald Ducks" proj~t, but Respondents did not provide itemized invoices showing the services included in the
               remaining $142,069.98.
               61
                        See DNC Amended 2016 Year-End Report at 4 (Jun. 1, 2017); DNC 2017 April Monthly Report at 4 (Apr.
               20, 2017).
               62
                        See 11 C.F.R. § 109.37(b).
               63
                        Seesupra notes 16 and 49.
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        1    Americans United and Voces through a press release to generate interest in funding the proposed

        2    activities. 64 In light of the lack of supporting information in the Complaints and Respondents'

        3    specific denials, the available information does not support a finding that any Respondent made

        4    or accepted in-kind contributions in the form of coordinated expenditures in connection with the

         5   Fall Plan.

1       6            As the information in the record does not support the coordination allegations outlined in
B
()       7   the Complaints, the Commission finds that there is no reason to believe that Respondents
-~i
f.i      8   violated the Act by making or accepting excessive or prohibited in-kind contributions.
~i
...·)
f~
')
         9           B.       Reporting Violations

~~      10           The Complaints allege that if the activities at issue are found to be coordinated
)~·
        11   communications, then HFA and the DNC failed to disclose the resulting contributions. As the

        12   Commission concludes that there is no reason to believe regarding the coordination allegations,

        13   the Commission also finds that there is no reason to believe that Respondents violated the

        14   reporting provisions of the Act.




             64
                      See Americans United Resp. at 1, Attach. A (MUR 71SS); Americans United Resp. Attach. A (MUR 71S7).
             Voces filed a designation of counsel in MUR 71 SS, but did not submit a response.
